           Case 21-00833-5-JNC                    Doc 1 Filed 04/09/21 Entered 04/09/21 17:03:13                                 Page 1 of 119
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Platinum Corral, L.L.C.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  521 New Bridge St.
                                  Jacksonville, NC 28540-5430
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Onslow                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Various
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor    Platinum Corral, L.L.C.                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


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Debtor   Platinum Corral, L.L.C.                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    Platinum Corral, L.L.C.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 9, 2021
                                                  MM / DD / YYYY


                             X   /s/ Louis William Sewell, III                                            Louis William Sewell, III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and Chief Executive Officer




18. Signature of attorney    X   /s/ Gerald A. Jeutter, Jr.                                                Date April 9, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Gerald A. Jeutter, Jr. 17724
                                 Printed name

                                 Smith Anderson
                                 Firm name

                                 150 Fayetteville Street, Ste. 2300
                                 P.O. Box 2611
                                 Raleigh, NC 27602-2611
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-821-1220                  Email address      jjeutter@smithlaw.com

                                 17724 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Platinum Corral, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               Exhibits

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 9, 2021                           X /s/ Louis William Sewell, III
                                                                       Signature of individual signing on behalf of debtor

                                                                       Louis William Sewell, III
                                                                       Printed name

                                                                       President and Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Platinum Corral, L.L.C.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 1053 Lenoir Rhyne                                               Rent                                                                                                   $246,885.00
 Boulevard LLC
 Mr. and Mrs. Russell
 Wachtier
 740 Saint Nicholas
 Ave., Room 2
 New York, NY 10031
 ARC Cafeusa001                                                  Rent                                                                                                   $302,991.00
 LLC Zanesville OH
 DEPT 880044 (ID
 082070)
 PO Box 29650 -
 Attn: Officer/Mgr.
 Phoenix, AZ 85038
 BRINKS INC.                                                     SAFE & MONEY           Disputed                                                                        $109,201.71
 Attn:                                                           REMOVAL SVC
 Officer/Manager
 7373 SOLUTIONS
 CENTER
 CHICAGO, IL 60677
 Chillicothe Bowling                                             Rent                                                                                                   $182,000.00
 Lanes Inc.
 Attn:
 Officer/Manager
 1680 N Bridge St
 Chillicothe, OH
 45601
 Dogwood State                                                   Trade debt                                                                                             $133,259.00
 Bank FKA Sound
 Bank
 Attn:
 Officer/Manager
 5401 Six Forks Rd,
 Suite 100
 Raleigh, NC 27609




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Platinum Corral, L.L.C.                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Douglas Ray Higdon                                              Promissory Note                                                                                        $220,334.00
 391 Foxwood Dr.
 Richmond, KY
 40475
 Greenup County                                                  Store 781                                                                                                $51,223.38
 Sheriff
 Attn:
 Officer/Manager
 PO BOX 318
 Greenup, KY 41144
 HP-Wakeforest GC,                                               Rent                                                                                                   $273,195.00
 LLC
 Holly Park Inv.-Attn:
 Officer/Mgr.
 PO Box 19669
 Raleigh, NC 27619
 Noble Properties                                                Rent for Store                                                                                         $301,489.00
 Inc.                                                            2623
 Attn:
 Officer/Manager
 4280 Professional
 Center Dr Ste 100
 Palm Beach
 Gardens, FL 33410
 Northeast Bank                                                  PPP2 Loan              Contingent                                                                    $2,000,000.00
 Attn: Loan Servicing
 Dept.
 PO Box 171769
 Boston, MA 02117
 SBBH Golden                                                     Rent                                                                                                   $150,421.00
 Corral, LLC
 Attn:
 Officer/Manager
 101 S Kings Drive,
 Suite 200
 Charlotte, NC 28204
 SHULER MEATS                                                    Trade debt                                                                                             $790,293.61
 Attn:
 Officer/Manager
 124 SHULER RD
 THOMASVILLE, NC
 27360
 STORE Master                                                    Rent                                                                                                 $2,073,981.00
 Funding III, LLC
 Attn: Michael
 Bennett, Exec. VP
 8501 E. Princess
 Drive, Suite 190
 Scottsdale, AZ
 85255




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Platinum Corral, L.L.C.                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sumter County                                                   Store 2508                                                                                               $47,800.94
 Treasurer
 Attn:
 Officer/Manager
 PO BOX 100140
 Columbia, SC 29202
 SVCN 4 LLC c/o The                                              Rent                                                                                                 $1,591,304.00
 RMR Group LLC
 Attn:
 Officer/Manager
 255 Washington St.,
 Suite 300
 Newton, MA 02458
 The Loan Source                                                 PPP Loan               Contingent                                                                    $4,700,812.00
 Attn:
 Officer/Manager
 353 E 83rd St.
 New York, NY 10028
 Toler Properties,                                               Rent                                                                                                   $175,058.00
 LLC
 Attn:
 Officer/Manager
 330 Harper Park Dr.,
 Suite G
 Beckley, WV 25801
 US FOODS INC                                                    Restaurant food                                                                                          $43,078.42
 Attn:                                                           and supplies
 Officer/Manager
 PO BOX 602292
 CHARLOTTE, NC
 28260
 Wake County Tax                                                 PROPERTY                                                                                                 $37,613.84
 Administration                                                  TAXES - Store
 Attn:                                                           2485
 Officer/Manager
 PO BOX 580084
 Charlotte, NC 28258
 WSR Sumter-c/o                                                  Rent                                                                                                   $261,618.00
 West Realty Group
 Attn:
 Officer/Manager
 875 Saint Nicholas
 Ave., Apt. 1
 New York, NY 10032




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Platinum Corral, L.L.C.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        5,514,229.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        5,740,212.31

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       11,254,441.31


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       19,985,140.73


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           347,025.68

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       29,057,481.22


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         49,389,647.63




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Platinum Corral, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     BB&T                                                    Money Market Account            4054                                $2,000,003.81




           3.2.     BB&T                                                    General Checking                3900                                $1,348,668.42




           3.3.     BB&T - Payroll Account                                  Checking account                8342                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                 $3,348,672.23
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Parkersburg, WV (Store 2490) - Parkersburg Utility Board                                                                           $100.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 1
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 Debtor           Platinum Corral, L.L.C.                                                    Case number (If known)
                  Name




           7.2.     Zanesville, OH (Store 2438) - Muskingum Co Water                                                                $25.00




           7.3.     Huntington, WV (Store 814) - Mountaineer Gas                                                                $4,250.24




           7.4.     Chillicothe, OH (Store 722) - Chillicothe Municipal Water                                                     $100.00




           7.5.     Chillicothe, OH (Store 722) - Columbia Gas of OH                                                            $1,652.42




           7.6.     Ashland, KY (Store 781) - Kentucky Power Co                                                                   $988.00




           7.7.     Glen Allen, VA (Store 749) - City of Richmond                                                             $13,100.00




           7.8.     Lynchburg, VA (Store 894) - Appalachian Power                                                               $8,614.00




           7.9.     Lynchburg, VA (Store 894) - Appalachian Power                                                             $11,886.74



           7.10
           .    Sumter, SC (Store 2508) - South Carolina Electric & Gas                                                         $8,227.23



           7.11
           .    Sumter, SC (Store 2508) - City of Sumter Water                                                                    $100.00



           7.12
           .    Christiansburg, VA (Store 2663) - Atmos Energy                                                                  $4,386.84



           7.13
           .    Elizabethtown, KY (Store 634) - City of Elizabethtown Gas                                                         $100.00



           7.14
           .    Kentucky Utilities Company (Store 634) - Elizabethtown, KY                                                    $10,782.52



           7.15
           .    Hardin Co Water (Store 634) - Elizabethtown, KY                                                                     $62.50
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 Debtor           Platinum Corral, L.L.C.                                                      Case number (If known)
                  Name




           7.16
           .    Winchester, KY (Store 630) - Columbia Gas of KY                                                                             $4,815.00



           7.17
           .    Kentucky Utilities Company (Store 630) - Winchester, KY                                                                   $10,818.48



           7.18
           .    Roanoke, VA (Store 774) - Western VA Water                                                                                    $100.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     North Carolina Department of Revenue - Sales Tax                                                                      $40,000.00




 9.        Total of Part 2.                                                                                                          $120,108.97
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            142,905.00   -                                0.00 = ....                $142,905.00
                                              face amount                        doubtful or uncollectible accounts




           11b. Over 90 days old:                               206,547.00   -                               0.00 =....                  $206,547.00
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                          $349,452.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                        Valuation method used   Current value of
                                                                                                        for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture


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 Debtor         Platinum Corral, L.L.C.                                                       Case number (If known)
                Name

           Name of entity:                                                          % of ownership


           15.1.     Salem Halifax Capital Partners LP                              0             %   Cost                              $58,094.90



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                         $58,094.90
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of       Valuation method used   Current value of
                                                      physical inventory      debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Store 559                                  3/24/2021                         $42,307.00    FIFO                              $42,307.00


           Store 576                                  3/24/2021                         $33,309.00    FIFO                              $33,309.00


           Store 586                                  3/24/2021                         $33,229.00    FIFO                              $33,229.00


           Store 589                                  3/24/2021                         $32,448.00    FIFO                              $32,448.00


           Store 2607                                 3/24/2021                         $27,876.00    FIFO                              $27,876.00


           Store 764                                  3/24/2021                         $41,441.00    FIFO                              $41,441.00


           Store 774                                  3/24/2021                         $33,850.00    FIFO                              $33,850.00


           Store 894                                  3/24/2021                         $27,477.00    FIFO                              $27,477.00


           Store 2454                                 3/24/2021                         $42,099.00    FIFO                              $42,099.00


           Store 749                                  3/24/2021                         $35,292.00    FIFO                              $35,292.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Office supplies                            None                                   $0.00    Estimate                            $2,000.00




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 Debtor         Platinum Corral, L.L.C.                                                       Case number (If known)
                Name


 23.       Total of Part 5.                                                                                                       $351,328.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                      0.00 Valuation method       FIFO               Current Value                        0.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Restaurant Furniture, Fixtures and Equipment                            $1,162,498.76     BOOK VALUE                     $1,162,498.76



 40.       Office fixtures
           Included with Office Furniture - see 41.                                         $0.00                                              $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Furniture, Fixtures, and Equipment                                 $151,750.41     Book Value                       $151,750.41



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                        $1,314,249.17
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

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 Debtor         Platinum Corral, L.L.C.                                                       Case number (If known)
                Name



 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Veh#1: 2004 Chevrolet Express 1500
                     Cargo Van 1GCFG15X041157917 NC                                         $0.00    Kelley Blue Book                    $3,580.50


           47.2.     Veh#2: 2006 Chevrolet Express 2500
                     Cargo Van 1GCGG25V661256432 NC                                         $0.00    Kelley Blue Book                    $4,329.50


           47.3.     Veh#3: 2014 Chevrolet Express 1500
                     Cargo Van 1GCSGAFX0E1139755 NC                                     $8,466.33    Kelley Blue Book                  $12,172.50


           47.4.     Veh#4: 2012 Chevrolet Silverado 2500
                     HD Ext Cab Pickup
                     1GC2CVCG0CZ329514 NC                                             $14,690.97     Kelley Blue Book                  $12,165.50


           47.5.     Veh#5: 2009 Ford Econoline 150 Cargo
                     Van 1FTNE14L19DA67343 NC                                           $3,938.06    Kelley Blue Book                    $6,585.50


           47.6.     Veh#6: 2011 Ford Transit Connect Cargo
                     XLT Van NM0LS7DN5BT065754 NC                                       $8,346.92    Kelley Blue Book                    $6,107.50


           47.7.     Veh#7: 2014 Chevrolet Express 1500
                     Cargo Van 1GCSGAFX4E1189137 NC                                     $8,466.33    Kelley Blue Book                  $12,172.50


           47.8.     Veh#9: 2018 Ford Expedition Max
                     1FMJK1KT4JEA24992 NC                                             $35,792.28     Kelley Blue Book                  $45,027.00


           47.9.     Veh#10: 2015 Chevrolet City Express LT
                     Van 3N63M0ZN1FK697354 NC                                           $8,452.57    Kelley Blue Book                  $10,447.50


           47.10 Veh#11: 1998 Chevrolet Box 3500 Truck
           .     1GBJG31FOW1106685 NC                                                   $6,741.37    Kelley Blue Book                    $1,871.50


           47.11 Veh#12: 2012 Chevrolet Express 1500
           .     Cargo Van 1GCSGAFX4C1164770 NC                                         $9,872.95    Kelley Blue Book                    $8,363.50


           47.12 Veh#13: 2006 Chevrolet Express 2500
           .     Cargo Van 1GCGG25V161208739 NC                                         $7,701.30    Kelley Blue Book                    $4,329.50




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 Debtor         Platinum Corral, L.L.C.                                                       Case number (If known)
                Name

           47.13 Veh#8: 2018 8' x 16' Food Concession
           .     Trailer 5WKBE162XJ1050564 NC                                         $16,569.78     Estimate                             $7,500.00


           47.14
           .     Trailer                                                                    $0.00    Estimate                               $250.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                        $134,902.50
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Office Property
                     521 New Bridge
                     Street
                     Jacksonville, NC
                     28540
                     Parcel #021854 / Map
                     # 420-126                            Fee simple                 $214,030.00     Tax value                         $214,030.00


           55.2.     Office Property
                     517 New Bridge
                     Street
                     Jacksonville, NC
                     28540
                     Parcel # 000810 / Map
                     # 420-125                            Fee simple                  $71,462.52     Tax value                         $100,900.00



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 Debtor         Platinum Corral, L.L.C.                                                       Case number (If known)
                Name

            55.3.    Bordeaux St. Parking
                     Lot
                     Jacksonville, NC
                     28540
                     Parcel #030206 / Map
                     #420-127                             Fee simple                  $26,600.00       Tax value                         $26,600.00


            55.4.    Restaurant land and
                     building - Store 576
                     3108 Garden Rd
                     Burlington, NC
                     Parcel #112792                       Fee simple               $2,445,745.60       Tax value                      $2,457,399.00


            55.5.    Building only - Store
                     749
                     4050 Gaskins Rd
                     Glen Allen, VA 23060
                     Parcel #752-759-6392                 Fee simple               $1,664,606.68       Tax value                        $994,400.00


            55.6.    Building only - Store
                     714
                     11 S Providence Rd
                     Richmond, VA 23236
                     Parcel #759 705 6653                 Fee simple               $1,592,493.73       Tax value                      $1,720,900.00




 56.        Total of Part 9.                                                                                                       $5,514,229.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.platinumcorral.com
            platinumcorralcareers                                                           $0.00                                                $0.00



 62.        Licenses, franchises, and royalties



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 8
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 Debtor         Platinum Corral, L.L.C.                                                      Case number (If known)
                Name

            Golden Corral Franchise Agreements for 28
            stores                                                                     Unknown                                          Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill for operating stores                                              Unknown                                          Unknown



 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Mass Mutual
            Owner - Platinum Corral, LLC
            Insured - Louis William Sewell, III
            Policy Date - 12/20/2005
            Policy # - 15 603 383
            Benefit - $1,000,000.00
            Maturity - 12/20/2065
            Beneficiary - Platinum Corral, LLC                                                                                        $63,404.54




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 9
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 Debtor         Platinum Corral, L.L.C.                                                      Case number (If known)
                Name

           Nationwide
           Owner: Platinum Corral, LLC
           Insured: Louis William Sewell, III
           Policy Date: 4/26/2002
           Policy No.: L034318510
           Benefit: 5,000,000.00
           Term Age/Date: 4/26/2061
           Beneficiary: Platinum Corral, LLC                                                                                          $0.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                               $63,404.54
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




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 Debtor          Platinum Corral, L.L.C.                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $3,348,672.23

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $120,108.97

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $349,452.00

 83. Investments. Copy line 17, Part 4.                                                                             $58,094.90

 84. Inventory. Copy line 23, Part 5.                                                                             $351,328.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $1,314,249.17

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $134,902.50

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $5,514,229.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $63,404.54

 91. Total. Add lines 80 through 90 for each column                                                         $5,740,212.31            + 91b.            $5,514,229.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $11,254,441.31




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Rev. 3/2016
                                                                  UNITED STATES BANKRUPTCY COURT
                                                                 EASTERN DISTRICT OF NORTH CAROLINA

 IN THE MATTER OF:                                                                                                      CASE NUMBER:
 Platinum Corral, L.L.C.
             Debtor(s).


                                                           SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

          I,   Louis William Sewell, III      , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North
Carolina, and nonbankruptcy Federal law: (Attach additional sheets if necessary).

           1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT
(The exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the
property not to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant with
rights of survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the former
co-owner, if a child use initials only, of the property below).

                                               Owner
                                               (D1)Debtor 1                                   Amount of
 Description of Property                Market (D2)Debtor 2 Mortgage Holder                    Mortgage                 Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     or Lien Holder                       or Lien              Value Pursuant to NCGS 1C-1601(a)(1)
 -NONE-

 Debtor's Age:
 Name of former co-owner:

                                               VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $                                   0.00

            2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                               Owner
                                               (D1)Debtor 1
 Model, Year                            Market (D2)Debtor 2                                   Amount of                 Net       Value Claimed as Exempt
 Style of Auto                           Value (J)Joint     Lien Holder                           Lien                Value Pursuant to NCGS 1C-1601(a)(3)
 -NONE-

                                           VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $                                     0.00

          3. NCGS 1C-1601(a)(4) (NC Const., Article X, Section 1) PERSONAL OR HOUSEHOLD GOODS (The debtor's aggregate interest is not to
exceed $5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption
purposes is 0 .

                                                        Owner
                                                        (D1)Debtor 1                                                                     Claimed as Exempt
 Description                                     Market (D2)Debtor 2      Lien                             Amount                  Net    Pursuant to NCGS
 of Property                                      Value (J)Joint          Holder                            of Lien              Value        1C-1601(a)(4)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4): $                            0.00

            4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor's aggregate interest is not to exceed $2,000 in value).

                                               Owner
                                               (D1)Debtor 1
                                        Market (D2)Debtor 2 Lien                              Amount of                 Net       Value Claimed as Exempt
 Description                             Value (J)Joint     Holder                                Lien                Value Pursuant to NCGS 1C-1601(a)(5)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(5): $                            0.00

            5. NCGS 1C-1601(a)(6) LIFE INSURANCE (NC Const., Article X, Section 5).

                                                                                                                                                         Cash
 Description\Insured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                              Value
 -NONE-



Schedule C-1 - Property Claimed as Exempt - 3/2016
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            6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor's Dependents, no limit on value).

 Description
 -NONE-

        7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY
POLICIES OR ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT.
COMPENSATION NOT EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

 Description AND Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability Policy/Annuity
 -NONE-

         8. NCGS 1C-1601(a)(2) ANY PROPERTY (Debtor's aggregate interest in any property is not to exceed $5,000 in value of any unused
exemption amount to which the debtor is entitled under NCGS 1C-1601(a)(1)).

                                               Owner
                                               (D1)Debtor 1
 Description of Property                Market (D2)Debtor 2 Lien                             Amount                Net       Value Claimed as Exempt
 and Address                             Value (J)Joint     Holder                            of Lien            Value Pursuant to NCGS 1C-1601(a)(2)
 -NONE-

                                                                     VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(2): $                          0.00

          9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal
Revenue Code, and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement
accounts as described in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal
Revenue Code, accounts established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from
taxation under § 401, 403, 408, 408A, 414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, "Internal Revenue Code"
means Code as defined in G.S. 105-228.90.

 Type of Account\Location of Account\Last Four Digits of Account Number
 -NONE-

           10. NCGS 1C-1601(a)(10) FUNDS IN A COLLEGE SAVINGS PLAN, as qualified under § 529 of the Internal Revenue Code, and that are not
otherwise excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a
college savings plan within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor's financial affairs
and must have been consistent with the debtor's past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually be
used for the child's college or university expenses.

 College Savings Plan\Last Four Digits of Account Number\Value\Initials of Child Beneficiary
 -NONE-

        11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL
UNITS OF OTHER STATES (The debtor's interest is exempt only to the extent that these benefits are exempt under the laws of the state or
governmental unit under which the benefit plan is established).

 Name of Retirement Plan\State Governmental Unit\Last Four Digits of Identifying Number
 -NONE-

         12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
HAVE BEEN RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
reasonably necessary for the support of the debtor or any dependent of the debtor).

 Type of Support\Amount\Location of Funds
 -NONE-

         13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of
North Carolina pertaining to property held as tenants by the entirety.

 Description of                                 Market Lien                                                        Amount                                Net
 Property and Address                            Value Holder                                                       of Lien                            Value
 -NONE-

                                                                                                   VALUE CLAIMED AS EXEMPT: $                           0.00

Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                    Page 2
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            14. NORTH CAROLINA PENSION FUND EXEMPTIONS

           -NONE-

            15. OTHER EXEMPTIONS CLAIMED UNDER LAWS OF THE STATE OF NORTH CAROLINA

           -NONE-

            16. FEDERAL PENSION FUND EXEMPTIONS

           -NONE-

            17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

           -NONE-

            18. RECENT PURCHASES

            (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition.

                                                                       Market Lien                                                   Amount                   Net
 Description                                                            Value Holder                                                  of Lien               Value
 -NONE-

          (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt and
that was not acquired by transferring or using additional property.

 Description of Replacement Property                                 Description of Property Liquidated or Converted that May Be Exempt



            19. The debtor's property is subject to the following claims:

 a.          Of the United States or its agencies as provided by federal law.
 b.          Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds;
 c.          Of a lien by a laborer for work done and performed for the person claiming the exemption, but only as to the specific property affected.
 d.          Of a lien by a mechanic for work done on the premises, but only as to the specific property affected.
 e.          For payment of obligations contracted for the purchase of specific real property affected.
 f.          For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor's household goods
             notwithstanding any contract for a nonpossessory, nonpurchase money security interest in any such goods.
 g.          For statutory liens, on the specific property affected, other than judicial liens.
 h.          For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina.
 i.          For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38.
 j.          Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations).
 k.          Debts of a kind specified in 11 U.S.C. § 522(c).

                                         Nature of                          Amount of Description of                                   Value                  Net
 Claimant                                Claim                                 Claim Property                                     of Property               Value
 -NONE-

         None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of
exemptions.


            None of the claims listed in paragraph 19 is subject to this claim of exemptions.


          I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim
only the maximum amount allowed by statute.




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                         Page 3
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                                    UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL
                                               TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

         I,   Louis William Sewell, III         , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as
Exempt, consisting of 4 sheets, and that they are true and correct to the best of my knowledge, information and belief.




 Executed on: April 9, 2021                                                  /s/ Louis William Sewell, III
                                                                             Louis William Sewell, III
                                                                                                               Debtor




Schedule C-1 - Property Claimed as Exempt - 3/2016                                                                                                 Page 4
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 Fill in this information to identify the case:

 Debtor name         Platinum Corral, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Ally Financial                                 Describe debtor's property that is subject to a lien                     $8,994.00               $12,165.50
       Creditor's Name                                2012 Chevy Silverado
       Payment Processing
       Center
       P. O. Box 9001948
       Louisville, KY 40290
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       09/2018                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6920
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   BB&T                                           Describe debtor's property that is subject to a lien                          $0.00                    $0.00
       Creditor's Name
       Attn: Officer/Manager
       PO Box 580340
       Charlotte, NC 28258
       Creditor's mailing address                     Describe the lien
                                                      For Notice Purposes Only
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/25/08                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5956
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 7
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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Coastal Bank & Trust                           Describe debtor's property that is subject to a lien                     $263,844.00       $341,530.00
       Creditor's Name                                Debt owed by LWS III, LLC - Deed of trust
       Attn: Officer/Manager                          secured by office properties, Book 4540,
       2414 N Marine Blvd.                            Page 401, Onslow County Registry
       Jacksonville, NC 28546
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/2016                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0500
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   LBC2 Trust                                     Describe debtor's property that is subject to a lien                 $2,293,986.95       $2,457,399.00
       Creditor's Name                                Store 576 - Land and Building - 3108 Garden
       Attn: Officer/Manager                          Road, Burlington, NC
       PO Box 860713
       Minneapolis, MN
       55486-0713
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust recorded 5/16/18, Book 3772,
                                                      Page 887, Alamance Co. Registry
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       05/2018                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3435
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   LBC2 Trust                                     Describe debtor's property that is subject to a lien                     $116,120.42     $2,457,399.00
       Creditor's Name                                Store 576 - Land and Building - 3108 Garden
       Attn: Officer/Manager                          Road, Burlington, NC
       PO Box 860713
       Minneapolis, MN
       55486-0713
       Creditor's mailing address                     Describe the lien



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 7
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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

                                                      Deed of Trust recorded 11/20/18, Book 3829,
                                                      Page 233, Alamance County Registry
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       07/2019                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7745
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   LBC2 Trust                                     Describe debtor's property that is subject to a lien                     $150,011.89     $2,457,399.00
       Creditor's Name                                Store 576 - Land and Building - 3108 Garden
       Attn: Officer/Manager                          Road, Burlington, NC
       PO Box 860713
       Minneapolis, MN
       55486-0713
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust recorded 11/20/18, Book 3829,
                                                      Page 233, Alamance County Registry
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       01/2019                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9520
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   LBC2 Trust                                     Describe debtor's property that is subject to a lien                     $549,446.92     $2,457,399.00
       Creditor's Name                                Store 576 - Land and Building - 3108 Garden
       Attn: Officer/Manager                          Road, Burlington, NC
       PO Box 860713
       Minneapolis, MN
       55486-0713
       Creditor's mailing address                     Describe the lien
                                                      Deed of trust recorded 6/18/19, Book 3886,
                                                      Page 941, Alamance County Registry
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       01/2019                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2075
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   LBC2 Trust                                     Describe debtor's property that is subject to a lien                     $146,215.23     $2,457,399.00
       Creditor's Name                                Store 576 - Land and Building - 3108 Garden
       Attn: Officer/Manager                          Road, Burlington, NC
       PO Box 860713
       Minneapolis, MN
       55486-0713
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust recorded 11/20/18, Book 3829,
                                                      Page 233, Alamance County Registry
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       01/2019                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9515
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9   LBC2 Trust                                     Describe debtor's property that is subject to a lien                           $0.00              $0.00
       Creditor's Name                                Store 576 - Land and Building - 3108 Garden
       Attn: Officer/Manager                          Road, Burlington, NC
       PO Box 860713
       Minneapolis, MN
       55486-0713
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust recorded 11/20/18, Book 3829,
                                                      Page 233, Alamance County Registry
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/20/2018                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   LBC2 Trust c/o Willow
 0     River LLC                                      Describe debtor's property that is subject to a lien                           $0.00              $0.00
       Creditor's Name
       Attn: Officer/Manager
       PO Box 2301
       Stillwater, MN 55082

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4 of 7
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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

       Creditor's mailing address                     Describe the lien
                                                      FOR INFORMATIONAL PURPOSES ONLY
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   McLane FoodService
 1     Distribution Inc                               Describe debtor's property that is subject to a lien                     $342,497.32              $0.00
       Creditor's Name                                Inventory, any products and proceeds at the
       Attn: Officer/Manager                          restaurant locations
       2641 Meadowbrook Road
       Rocky Mount, NC 27802
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 FS 20090023278E; UCC CS
                                                      20140003454E; UCC CS 20190015532K
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 2     Pacific Premier Bank                           Describe debtor's property that is subject to a lien               $13,976,908.00           Unknown
       Creditor's Name                                BLANKET LIEN ON ALL PERSONAL
       Attn: Officer/Manager                          PROPERTY ASSETS
       PO Box 5085
       Paso Robles, CA 93447
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 Financing Statement 20170126993A
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/2017                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7601
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 5 of 7
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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.1
 3      Pacific Premier Bank                          Describe debtor's property that is subject to a lien                 $1,987,116.00              Unknown
        Creditor's Name                               BLANKET LIEN ON ALL PERSONAL
        Attn: Officer/Manager                         PROPERTY ASSETS
        PO Box 5085
        Paso Robles, CA 93447
        Creditor's mailing address                    Describe the lien
                                                      UCC-1 Financing Statement 20190096911K
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        12/2017                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        7602
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.1    US Small Business
 4      Administration                                Describe debtor's property that is subject to a lien                     $150,000.00            Unknown
        Creditor's Name                               BLANKET LIEN ON ALL PERSONAL
        Attn: Officer/Manager                         PROPERTY ASSETS
        2 North St, Suite 320
        Birmingham, AL 35203
        Creditor's mailing address                    Describe the lien
                                                      UCC-1 Financing Statement 20200118736A
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $19,985,140.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       73

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 6 of 7
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 Debtor       Platinum Corral, L.L.C.                                                   Case number (if known)
              Name

        Name and address                                                                        On which line in Part 1 did        Last 4 digits of
                                                                                                you enter the related creditor?    account number for
                                                                                                                                   this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         Platinum Corral, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Alamance County Tax Collector                             Check all that apply.
           Attn: Officer/Manager                                        Contingent
           124 W. Elm Street                                            Unliquidated
           Graham, NC 27253                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 576
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Cabarrus Co. Tax Collector                                Check all that apply.
           Attn: Officer/Manager                                        Contingent
           PO BOX 580347                                                Unliquidated
           Charlotte, NC 28258                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 589
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 43
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 Debtor       Platinum Corral, L.L.C.                                                                         Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,030.00    $17,030.00
          Cabell County Tax Collector                                Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO Box 2114                                                   Unliquidated
          Huntington, WV 25721                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Real and personal property taxes - Store 814
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Catawba County Tax Collector                               Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 580071                                                 Unliquidated
          Charlotte, NC 28258                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 586
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          City of Burlington                                         Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 1358                                                   Unliquidated
          Burlington, NC 27216-1358                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 576
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          City of Colonial Heights, VA                               Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 3401                                                   Unliquidated
          Colonial Heights, VA 23834-9001                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 764
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       Platinum Corral, L.L.C.                                                                         Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          City of Concord Tax Collector                              Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 580473                                                 Unliquidated
          Charlotte, NC 28258                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $14,477.19    $14,477.19
          City of Danville, VA                                       Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 3308                                                   Unliquidated
          Danville, VA 24543                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAXES - Store 2603
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          City of Lynchburg, VA                                      Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 9000                                                   Unliquidated
          Lynchburg, VA 24505                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 894
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          City of Roanoke                                            Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 1451                                                   Unliquidated
          Roanoke, VA 24007                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 774
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $16,781.53    $16,781.53
          City of Russell KY                                         Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 394                                                    Unliquidated
          Russell, KY 41169                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAXES - Store 781
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          City of Winchester                                         Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO Box 4135                                                   Unliquidated
          Winchester, KY 40392                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Clark County Sheriff's Dept.                               Check all that apply.
          Attn: Officer/Manager                                         Contingent
          17 Cleveland Ave #1                                           Unliquidated
          Winchester, KY 40391                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 630
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Commonwealth of Kentucky                                   Check all that apply.
          Department of Revenue                                         Contingent
          PO Box 181, STA 57                                            Unliquidated
          Frankfort, KY 40602                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          County of Henrico                                          Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 3369                                                   Unliquidated
          Henrico, VA 23228                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 749
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $21,776.38    $21,776.38
          Davidson County Tax Collector                              Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 1577                                                   Unliquidated
          Lexington, NC 27293                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAXES - Store 656
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Fairfield County Treasurer                                 Check all that apply.
          Attn: Officer/Manager                                         Contingent
          210 E. Main St., Room 206                                     Unliquidated
          Lancaster, OH 43130                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 2618
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,916.82    $8,916.82
          Gallia County Treasurer                                    Check all that apply.
          Attn: Officer/Manager                                         Contingent
          18 Locust St., RM. 1291                                       Unliquidated
          Gallipolis, OH 45631                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAXES - Store 827
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $51,223.38    $51,223.38
          Greenup County Sheriff                                     Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 318                                                    Unliquidated
          Greenup, KY 41144                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Store 781
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Hardin County Sheriff                                      Check all that apply.
          Attn: Officer/Manager                                         Contingent
          150 N. Provident Way, Ste 101                                 Unliquidated
          Elizabethtown, KY 42701                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 634
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown       Unknown
          Internal Revenue Service                                   Check all that apply.
          Attn: Officer/Manager                                         Contingent
          P. O. Box 7346                                                Unliquidated
          Philadelphia, PA 19101                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $35,522.16    $35,522.16
          Kanawha Co. Sheriff's Tax Office                           Check all that apply.
          Attn: Officer/Manager                                         Contingent
          409 E Virginia St. Room 120                                   Unliquidated
          Charleston, WV 25301                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAXES - Store 867
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Mecklenburg County Tax                                     Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 71063                                                  Unliquidated
          Charlotte, NC 28272                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 2607
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $23,910.06    $23,910.06
          Montgomery Co. Treasurer's                                 Check all that apply.
          Office                                                        Contingent
          Attn: Officer/Manager                                         Unliquidated
          755 Roanoke St., Suite 1B                                     Disputed
          Christiansburg, VA 24073
          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAXES - Store 2663
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,987.96    $17,987.96
          Muskingum County Treasurer                                 Check all that apply.
          Attn: Officer/Manager                                         Contingent
          401 Main Street                                               Unliquidated
          Zanesville, OH 43701                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAXES - Store 2438
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown       Unknown
          North Carolina Dept. of Commerce                           Check all that apply.
          Division of Employment Security                               Contingent
          P. O. Box 26504                                               Unliquidated
          Raleigh, NC 27611-6504                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Platinum Corral, L.L.C.                                                                         Case number (if known)
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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown       Unknown
          North Carolina Dept. of Revenue                            Check all that apply.
          Office Services Division                                      Contingent
          P. O. Box 1168                                                Unliquidated
          Raleigh, NC 27602-1168                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Ohio Department of Taxation                                Check all that apply.
          PO Box 2678                                                   Contingent
          Columbus, OH 43216                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Onslow County Tax Collector                                Check all that apply.
          Attn: Officer/Manager                                         Contingent
          234 NW Corridor Blvd.                                         Unliquidated
          Jacksonville, NC 28540                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 559
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $27,413.66    $27,413.66
          Pitt County Tax Collector                                  Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 875                                                    Unliquidated
          Greenville, NC 27835                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAXES - Store 2623
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Randolph County Tax Collector                              Check all that apply.
          Attn: Officer/Manager                                         Contingent
          725 McDowell Road                                             Unliquidated
          Asheboro, NC 27205                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY - Store 2454
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Rockingham County Tax Collector                            Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 580368                                                 Unliquidated
          Charlotte, NC 28258                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          South Carolina                                             Check all that apply.
          Department of Revenue                                         Contingent
          300A Outlet Pointe Blvd                                       Unliquidated
          Columbia, SC 29210                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $47,800.94    $47,800.94
          Sumter County Treasurer                                    Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 100140                                                 Unliquidated
          Columbia, SC 29202                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Store 2508
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,175.18    $6,175.18
          Town of Christiansburg Tax Dept.                           Check all that apply.
          Attn: Officer/Manager                                         Contingent
          100 East Main St                                              Unliquidated
          Christiansburg, VA 24073                                      Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Treasurer, Chesterfield County                             Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 70                                                     Unliquidated
          Chesterfield, VA 23832                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          8/31/2020                                                  FOR NOTICE PURPOSES ONLY - Store 714

          Last 4 digits of account number 4259                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Virginia Tax                                               Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO Box 1115                                                   Unliquidated
          Richmond, VA 23218                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $37,613.84    $37,613.84
          Wake County Tax Administration                             Check all that apply.
          Attn: Officer/Manager                                         Contingent
          PO BOX 580084                                                 Unliquidated
          Charlotte, NC 28258                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     PROPERTY TAXES - Store 2485
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 2.39       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $20,396.58    $20,396.58
            WOOD COUNTY SHERIFF                                      Check all that apply.
            ATTN: OFFICER/MANAGER                                       Contingent
            PO BOX 1985                                                 Unliquidated
            Parkersburg, WV 26102                                       Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     PROPERTY TAXES - Store 2490
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $246,885.00
           1053 Lenoir Rhyne Boulevard LLC                                             Contingent
           Mr. and Mrs. Russell Wachtier                                               Unliquidated
           740 Saint Nicholas Ave., Room 2                                             Disputed
           New York, NY 10031
                                                                                   Basis for the claim:     Rent for Store 586
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $488.61
           A & S Fire Protection Services                                              Contingent
           Attn: Officer/Manager                                                       Unliquidated
           1216 Wheeler St                                                             Disputed
           FLATWOODS, KY 41139
                                                                                   Basis for the claim:     FIRE PROTECTION & MONITORING
           Date(s) debt was incurred 06/18/2020
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $630.00
           A & W Total Landscaping, LLC                                                Contingent
           ATTN: OFFICER/MANAGER                                                       Unliquidated
           4601 HINSHAW TOWN RD                                                        Disputed
           RAMSEUR, NC 27316
                                                                                   Basis for the claim:     LANDSCAPING SERVICES
           Date(s) debt was incurred 08/1/2020
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $296.97
           ACS Benefit Services, LLC                                                   Contingent
           Attn: Officer/Manager                                                       Unliquidated
           5660 University Parkway, 5th Floor                                          Disputed
           Winston Salem, NC 27105
                                                                                   Basis for the claim:     Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           ADT Commercial LLC                                                          Contingent
           Attn: Officer/Manager                                                       Unliquidated
           PO Box 219044                                                               Disputed
           Kansas City, MO 64121
                                                                                   Basis for the claim:     FOR NOTICE PURPOSES ONLY
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




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              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,267.65
          AEP Energy                                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 6329
                                                                                Disputed
          Carol Stream, IL 60197-6329
          Date(s) debt was incurred 11/20/2020
                                                                             Basis for the claim:    Early Termination Fee - Store 722
          Last 4 digits of account number 1335                               Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $485.00
          ALL BRITE LIGHTING LLC                                                Contingent
          ATTN: OFFICER/MANAGER                                                 Unliquidated
          PO BOX 352                                                            Disputed
          EAGLE SPRINGS, NC 27242
                                                                             Basis for the claim:    MAINTENANCE
          Date(s) debt was incurred 09/14/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $105.00
          Allied Security of Jacksonville                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 754                                                            Disputed
          JACKSONVILLE, NC 28541
                                                                             Basis for the claim:    SECURITY FOR GC 559 AND OFFICE
          Date(s) debt was incurred 09/29/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          American Electric Power/24002                                         Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 371496                                                         Disputed
          Pittsburgh, PA 15250-7496
                                                                                         ELECTRIC - STORES 2438, 2618, 722, 827 - FOR
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          American Express                                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 1270                                                           Disputed
          Newark, NJ 07101
                                                                             Basis for the claim:    Credit card purchases - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          APPALACHIAN POWER                                                     Contingent
          PO BOX 371496                                                         Unliquidated
          Pittsburgh, PA 15250-7496                                             Disputed
          Date(s) debt was incurred
                                                                                         ELECTRIC - STORES 774, 814, 867, 894 -FOR NOTICE
                                                                             Basis for the claim:
          Last 4 digits of account number                                    PURPOSES ONLY
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $302,991.00
          ARC Cafeusa001 LLC Zanesville OH                                      Contingent
          DEPT 880044 (ID 082070)                                               Unliquidated
          PO Box 29650 - Attn: Officer/Mgr.                                     Disputed
          Phoenix, AZ 85038
                                                                             Basis for the claim:    Rent for Store 2438
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $629.42
          ARC3 GASES                                                            Contingent
          ATTN: OFFICER/MANAGER                                                 Unliquidated
          PO BOX 26269                                                          Disputed
          RICHMOND, VA 23260
                                                                             Basis for the claim:    CO2 SERVICES & RENTALS
          Date(s) debt was incurred 08/26/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $240.00
          ARTHURS REFRIGERATION                                                 Contingent
          ATTN: OFFICER/MANAGER                                                 Unliquidated
          PO BOX 272                                                            Disputed
          IRONTON, OH 45638
                                                                             Basis for the claim:    MAINTENANCE
          Date(s) debt was incurred 07/24/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          AT&T                                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 105251                                                         Disputed
          Atlanta, GA 30348
                                                                             Basis for the claim:    STORE 576 - FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $90.00
          Atkinson Milling Co Inc.                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          95 Atkinson Mill Rd                                                   Disputed
          Selma, NC 27576
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $197.34
          Atlantic Consolidated Service Inc.                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 4777                                                           Disputed
          GREENSBORO, NC 27404
                                                                             Basis for the claim:    SANITATION SUPPLIES
          Date(s) debt was incurred 09/20/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $140.00
          BEDFORD WINDOW CLEANING                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          308 JANE RANDOLPH ST                                                  Disputed
          FOREST, VA 24551
                                                                             Basis for the claim:    WINDOW CLEANING
          Date(s) debt was incurred 10/6/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $314.22
          BENNETT UNIFORM                                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          4377 FEDERAL DR                                                       Disputed
          GREENSBORO, NC 27410
                                                                             Basis for the claim:    UNIFORMS
          Date(s) debt was incurred 07/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Black River Electric Cooperative SC                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 130                                                            Disputed
          Sumter, SC 29151-0130
                                                                             Basis for the claim:    ELECTRIC - STORE 2508 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Boon Administrative Services                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 671227                                                         Disputed
          Dallas, TX 75267
                                                                             Basis for the claim:    Insurance - FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $80.00
          BRIANS LOCK & KEY                                                     Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 340 (1803 S MAIN ST)                                           Disputed
          BLACKSBURG, VA 24063
                                                                             Basis for the claim:    LOCK & KEY SVC
          Date(s) debt was incurred 12/15/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $109,201.71
          BRINKS INC.                                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          7373 SOLUTIONS CENTER
                                                                                Disputed
          CHICAGO, IL 60677
          Date(s) debt was incurred 05/1/2020
                                                                             Basis for the claim:    SAFE & MONEY REMOVAL SVC
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $386.10
          C.H.E.S.S. SECURITY                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          3617 OLDE FALLS RD                                                    Disputed
          ZANESVILLE, OH 43701
                                                                             Basis for the claim:    SECURITY FOR GC 2438
          Date(s) debt was incurred 09/15/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $716.10
          Carolina Carbonic                                                     Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1712 HOLBROOK ST                                                      Disputed
          GREENSBORO, NC 27403
                                                                             Basis for the claim:    CO2 RENTAL & SERVICE
          Date(s) debt was incurred 10/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,492.21
          Charles Stafford                                                      Contingent
          908 Limberlost Lane                                                   Unliquidated
          Lewisville, NC 27023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $182,000.00
          Chillicothe Bowling Lanes Inc.                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1680 N Bridge St                                                      Disputed
          Chillicothe, OH 45601
                                                                             Basis for the claim:    Rent for Store 722
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Chillicothe Utilities Dept. OH                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 630                                                            Disputed
          Sumter, SC 29151-0130
                                                                             Basis for the claim:    WATER - STORE 722 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,208.00
          CHOWLY                                                                Contingent
          Attn: Officer/Manager                                                 Unliquidated
          225 W Wacker Dr., Ste 550                                             Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 7/12/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $174.52
          Cintas Corp #143                                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          12524 Kingston Ave                                                    Disputed
          Chester, VA 23836
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CITY OF ASHEBORO, NC                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 2628                                                           Disputed
          Asheboro, NC 27204-2628
                                                                             Basis for the claim:    WATER - STORE 2454 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Burlington                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1358                                                           Disputed
          Burlington, NC 27216-1358
                                                                             Basis for the claim:    WATER - STORE 576 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Charlotte, NC                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1316                                                           Disputed
          Charlotte, NC 28201-1316
                                                                             Basis for the claim:    WATER - STORE 2607 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Colonial Heights, VA                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 3401                                                           Disputed
          Colonial Heights, VA 23834-9001
                                                                             Basis for the claim:    WATER - STORE 764 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Concord, NC                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 580469                                                         Disputed
          Charlotte, NC 28258-0469
                                                                             Basis for the claim:    WATER - STORE 589 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Danville, VA                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 3308                                                           Disputed
          Danville, VA 24543
                                                                                         ALL UTILITIES - STORE 2603 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Hickory, NC                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 580069                                                         Disputed
          Charlotte, NC 28258-0069
                                                                             Basis for the claim:    WATER - STORE 586 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Jacksonville, NC                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 128                                                            Disputed
          Jacksonville, NC 28541-0128
                                                                                         WATER - STORES 102, 559 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Lexington, NC                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          28 WEST CENTER STREET                                                 Disputed
          Lexington, NC 27292
                                                                                         ELECTRIC/NATURAL GAS - STORE 656 - FOR
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $200.00
          City of Lynchburg Alarm                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 603                                                            Disputed
          Lynchburg, VA 24505
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


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              Name


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Lynchburg, VA                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 9000                                                           Disputed
          Lynchburg, VA 24505
                                                                             Basis for the claim:    WATER - STORE 894 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $491.80
          City of Parkersburg                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 1627                                                           Disputed
          Parkersburg, WV 26102
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Richmond, VA                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 71210                                                          Disputed
          Charlotte, NC 28272-1210
                                                                                         NATURAL GAS - STORE 749 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          City of Sumter, SC                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 310                                                            Disputed
          Sumter, SC 29151-0310
                                                                             Basis for the claim:    WATER - STORE 2508 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $700.00
          CMH PLUMBING                                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          505 SONOMA RD                                                         Disputed
          JACKSONVILLE, NC 28546
                                                                             Basis for the claim:    PLUMBING
          Date(s) debt was incurred 09/28/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,594.12
          Coastal Equipment Co                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          130 COASTAL LN                                                        Disputed
          JACKSONVILLE, NC 28546
                                                                             Basis for the claim:    SMALLWARES
          Date(s) debt was incurred 12/17/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Colonial Heights Chamber of Commerc                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          201 Temple Ave                                                        Disputed
          Colonial Heights, VA 23834
                                                                             Basis for the claim:    Community giftcard - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Columbia Gas of Kentucky                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 4660                                                           Disputed
          Carol Stream, IL 60197-4660
                                                                                         NATURAL GAS - STORES 630, 781 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Columbia Gas of Kentucky                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 4629                                                           Disputed
          Carol Stream, IL 60197-4629
                                                                                         NATURAL GAS - STORE 722 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Columbia Gas of Virginia                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 70319                                                          Disputed
          Philadelphia, PA 19176-0319
                                                                                         NATURAL GAS - STORES 714, 764, 894 - FOR
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $149.56
          Comfort Inn - Roanoke                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          5070 Valley View Blvd North                                           Disputed
          Roanoke, VA 24012
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Commercial Roofing Systems                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1050 W Corbett Ave                                                    Disputed
          Swansboro, NC 28584
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Corey Brothers                                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 166                                                            Disputed
          Charleston, WV 25321
                                                                             Basis for the claim:    FOR NOTICE PUPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Corral Group of Asheboro                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1616                                                           Disputed
          Morehead City, NC 28557
                                                                             Basis for the claim:    Rent for Store 2454 - FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $67.80
          Country Inn & Suites                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          580 Dicken Place                                                      Disputed
          Concord, NC 28025
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          County of Henrico, VA                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 90799                                                          Disputed
          Henrico, VA 23228-0799
                                                                             Basis for the claim:    WATER - STORE 749 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $151.02
          COZZINI BROS                                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          350 HOWARD AVE                                                        Disputed
          DES PLAINES, IL 60018
                                                                             Basis for the claim:    KNIFE SERVICE
          Date(s) debt was incurred 09/7/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Crawford Sprinkler Company                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 1430                                                           Disputed
          Hickory, NC 28603
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,146.71
          CROOK BROTHERS                                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          250 GREY FLATS RD                                                     Disputed
          BECKLEY, WV 25801
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 09/20/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Culligan Water                                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          418 Crossfield Dr.                                                    Disputed
          Versailles, KY 40383
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,669.50
          Culligan Water Conditioning                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          2703 Airport Road                                                     Disputed
          Tucson, AZ 85713
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $756.48
          DADE PAPER & BAG                                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          440 Interstate West Pkwy, Ste 200                                     Disputed
          LITHIA SPRINGS, GA 30122
                                                                             Basis for the claim:    Facilities maintenance supplies and equipment
          Date(s) debt was incurred 09/14/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $397.24
          Date Label                                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 684                                                            Disputed
          Indianapolis, IN 46206
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Daughtry Woodard Lawrence                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO DRAWER 1960                                                        Disputed
          SMITHFIELD, NC 27577
                                                                             Basis for the claim:    LEGAL
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DAVIDSON WATER, INC.                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 969                                                            Disputed
          Welcome, NC 27374-0969
                                                                             Basis for the claim:    WATER - STORE 656 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $400.00
          Diane Sears                                                           Contingent
          3045 Ordway Dr NW                                                     Unliquidated
          Apt 1                                                                 Disputed
          Roanoke, VA 24017
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $133,259.00
          Dogwood State Bank FKA Sound Bank                                     Contingent
          Attn: Officer/Manager                                                 Unliquidated
          5401 Six Forks Rd, Suite 100                                          Disputed
          Raleigh, NC 27609
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 03/2015
          Last 4 digits of account number 7200                               Is the claim subject to offset?     No       Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Dominion Energy North Carolina                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 100256                                                         Disputed
          Columbia, SC 29202-3256
                                                                                         NATURAL GAS - STORE 589 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Dominion Energy South Carolina                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 100255                                                         Disputed
          Columbia, SC 29202-3255
                                                                                         NATURAL GAS - STORE 2508 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Dominion Energy West Virginia                                         Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 26783                                                          Disputed
          Richmond, VA 23261-6783
                                                                                         NATURAL GAS - STORE 2490 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Dominion VA/NC Power                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 26543                                                          Disputed
          Richmond, VA 23290-0001
                                                                                         ELECTRIC - STORES 714, 749, 764 -FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $415.00
          DOUBLE K LAWN CARE                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          122 GEORGE LN                                                         Disputed
          JACKSONVILLE, NC 28540
                                                                             Basis for the claim:    LAWN CARE
          Date(s) debt was incurred 09/29/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $220,334.00
          Douglas Ray Higdon                                                    Contingent
          391 Foxwood Dr.                                                       Unliquidated
          Richmond, KY 40475                                                    Disputed
          Date(s) debt was incurred      06/2018                             Basis for the claim:    PROMISSORY NOTE
          Last 4 digits of account number     n/a
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Duke Energy                                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 1003                                                           Disputed
          Charlotte, NC 28201
                                                                                          ELECTRIC - STORES 102, 559, 576, 586, 589, 2607 -
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,173.14
          East Coast Tees & Promotional Goods                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          614 1ST AVE SOUTH                                                     Disputed
          NITRO, WV 25143
                                                                             Basis for the claim:    ADVERTISING/PROMOTING GOODS
          Date(s) debt was incurred 05/26/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,078.84
          ECOLAB Food Safety Specialties                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          24198 Network Place                                                   Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,954.90
          Ecolab Inc.                                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 32027                                                          Disputed
          NEW YORK, NY 10087
                                                                             Basis for the claim:    DISH MACHINE RENTALS/EQUIP
          Date(s) debt was incurred 03/10/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,872.53
          ECOLAB PEST                                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          26252 NETWORK PLACE                                                   Disputed
          CHICAGO, IL 60673
                                                                             Basis for the claim:    PEST SOLUTIONS
          Date(s) debt was incurred 05/29/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Elizabethtown Utilities, KY                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 550                                                            Disputed
          Elizabethtown, KY 42701
                                                                                         NATURAL GAS - STORE 634 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,315.62
          Engie/Ecova                                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1313 N Atlantic St., Suite 500                                        Disputed
          Spokane, WA 99201
                                                                             Basis for the claim:    Utilities - Third party service agent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $699.60
          ENVIRO-Master Sani Services                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 12350                                                          Disputed
          CHARLOTTE, NC 28220
                                                                             Basis for the claim:    SANITATION/DRAIN SERVICES
          Date(s) debt was incurred 01/20/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $385.20
          EXPRESS PRINTING                                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          117 N MARINE BLVD                                                     Disputed
          JACKONVILLE, NC 28540
                                                                             Basis for the claim:    PRINTING SVC/COUPONS
          Date(s) debt was incurred 09/23/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $105.30
          F.S.I. Mid State Division Inc.                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          121 Middle Collison Rd                                                Disputed
          Mount Lookout, WV 26678
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,681.20
          FESS FIRE PROTECTION                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1307                                                           Disputed
          MORRISVILLE, NC 27560
                                                                             Basis for the claim:    FIRE PROTECTION/MONITORING
          Date(s) debt was incurred 09/30/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $134.00
          FISH WINDOW CLEANING                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 71312                                                          Disputed
          HENRICO, VA 23229
                                                                             Basis for the claim:    WINDOW CLEANER
          Date(s) debt was incurred 09/20/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $905.78
          FLOORED                                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          385 RADFORD ST                                                        Disputed
          CHRISTIANSBURG, VA 24073
                                                                             Basis for the claim:    FLOORING
          Date(s) debt was incurred 01/20/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,417.24
          Foster's Refrigeration                                                Contingent
          Attn: Officer/Manager                                                 Unliquidated
          315 W 22ND ST                                                         Disputed
          RICHMOND, VA 23225
                                                                             Basis for the claim:    ICE MACHINE RENTALS
          Date(s) debt was incurred 07/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,048.54
          FRANKLIN MACHINE PRODUCTS                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          101 MT HOLLY BYPASS                                                   Disputed
          LUMBERTON, NJ 08048
                                                                             Basis for the claim:    KITCHEN/SERVING APPLIANCES
          Date(s) debt was incurred 07/23/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $570.11
          Frontier Communications                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 740407                                                         Disputed
          Cincinnati, OH 45274
                                                                             Basis for the claim:    PHONES - STORES 2490, 814, 867
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,314.86
          FSI MECHANICAL INC                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          5485 RAYNOR RD                                                        Disputed
          GARNER, NC 27529
                                                                             Basis for the claim:    HVAC & REFRIGERATION SVC
          Date(s) debt was incurred 02/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FTC                                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 743076                                                         Disputed
          Atlanta, GA 30374
                                                                             Basis for the claim:    PHONE - STORE 2508 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FUSION                                                                Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 51341                                                          Disputed
          Los Angeles, CA 90051
                                                                             Basis for the claim:    PHONE - STORE 576 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FUZE INC                                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 347284                                                         Disputed
          Pittsburgh, PA 15251
                                                                             Basis for the claim:    PHONES - ALL STORES - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $327.58
          GC Partners Inc                                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          3816 Forrestgate Dr.                                                  Disputed
          Winston Salem, NC 27103
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,000.00
          General Heating & Air Conditioning                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 964
                                                                                Disputed
          FLATWOODS, KY 41139
          Date(s) debt was incurred 02/26/2020
                                                                             Basis for the claim:    HEATING & AIR
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,201.82
          Golden Corral Corporation                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          P. O. Box 29502                                                       Disputed
          Raleigh, NC 27626
                                                                             Basis for the claim:    POS/HELP DESK - SERVICES PROVIDED
          Date(s) debt was incurred 03/19/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Golden Corral Franchising Systems                                     Contingent
          Attn: Officer/Manager                                                 Unliquidated
          P.O. Box 29502                                                        Disputed
          Raleigh, NC 27626
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $129.50
          Golden Rule/Kentucky Legionnaire                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1303 US HWY 127 S, Ste 402-374                                        Disputed
          FRANKFORT, KY 40601
                                                                             Basis for the claim:    NEWSPAPER
          Date(s) debt was incurred 02/28/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,611.87
          Granite Telecommunications                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 983119 (Client ID #311)                                        Disputed
          Boston, MA 02298
                                                                             Basis for the claim:    PHONE/INTERNET FOR ALL STORES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,595.00
          GreasePro/Fleetwash Inc                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 36014
                                                                                Disputed
          NEWARK, NJ 07188
          Date(s) debt was incurred 10/3/2019
                                                                             Basis for the claim:    HOOD CLEANER
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Greenville Utilities Commission, NC                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1432                                                           Disputed
          Charlotte, NC 28201-1432
                                                                                         ALL UTILITIES - STORE 2623 -FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $179.55
          GTT                                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 842630                                                         Disputed
          Dallas, TX 75284
                                                                             Basis for the claim:    PHONES FOR STORES 867, 2490, 81
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $690.21
          HABITEC SECURITY                                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 352497                                                         Disputed
          TOLEDO, OH 43635
                                                                             Basis for the claim:    SECURITY & MONITORING
          Date(s) debt was incurred 08/27/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Hardin County Water District #2                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 645854                                                         Disputed
          Pittsburgh, PA 15264-5256
                                                                             Basis for the claim:    WATER - STORE 634 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Herbert & Debra Zeysing                                               Contingent
          2115 Cynthiana Rd                                                     Unliquidated
          Georgetown, KY 40324                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent for Store 634 - FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $575.46
          High 5 Awards                                                         Contingent
          Attn: Officer/Manager                                                 Unliquidated
          11272 Stewart Loop                                                    Disputed
          Oxford, FL 34484
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,661.89
          HM Electronics                                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 208713                                                         Disputed
          Dallas, TX 75320
                                                                             Basis for the claim:    Drive thru headsets
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,355.78
          Hobart                                                                Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 2517                                                           Disputed
          CAROL STREAM, IL 60132
                                                                             Basis for the claim:    KITCHEN EQUIPMENT
          Date(s) debt was incurred 09/23/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Hobart Down East Enterprises                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1311 E New Bern Rd                                                    Disputed
          Kinston, NC 28501
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $273,195.00
          HP-Wakeforest GC, LLC                                                 Contingent
          Holly Park Inv.-Attn: Officer/Mgr.                                    Unliquidated
          PO Box 19669                                                          Disputed
          Raleigh, NC 27619
                                                                             Basis for the claim:    Rent for Store 2485
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          IGS ENERGY                                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 936626                                                         Disputed
          Atlanta, GA 31193-6626
                                                                                         NATURAL GAS - STORES 714, 764, 894 - FOR
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Integrated Cash Logistics, Inc.                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          P. O. Box 9560                                                        Disputed
          Wilmington, DE 19809-0560
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred 11/13/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Intelligent tech                                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          20 Oak Branch Dr, Suite D                                             Disputed
          Greensboro, NC 27407
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $970.41
          IRWIN CONSTRUCTION                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          207 E 10TH ST                                                         Disputed
          KANNAPOLIS, NC 28083
                                                                             Basis for the claim:    MAINENANCE
          Date(s) debt was incurred 05/27/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,047.55
          J H HONEYCUTT & SONS                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 391                                                            Disputed
          CHADBOURN, NC 28431
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 09/20/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $107.00
          Jackie Miller                                                         Contingent
          65 Sanders Dr                                                         Unliquidated
          Hubert, NC 28539                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Jacksonville Heating Contractors                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          227 S Marine Blvd                                                     Disputed
          Jacksonville, NC 28540
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Johnson Security                                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 371967                                                         Disputed
          Pittsburgh, PA 15250
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,220.00
          JONATHON M MONSALVO                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          136 PEACE HAVEN DR                                                    Disputed
          LEXINGTON, NC 27292
                                                                             Basis for the claim:    OUTDOOR MAINTENANCE
          Date(s) debt was incurred 09/8/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $119.94
          KAPPUS CO                                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          4755 W 150TH ST                                                       Disputed
          CLEVELAND, OH 44135
                                                                             Basis for the claim:    FOOD SERVICE EQUIPMENT
          Date(s) debt was incurred 06/8/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $247.60
          Keevers Key & Repair SVC                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 662                                                            Disputed
          Hickory, NC 28603
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $179.87
          Kennedy Office Supply Co                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 40847                                                          Disputed
          Raleigh, NC 27629
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $174.00
          KENTUCKY AIR FILTER                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1105                                                           Disputed
          STANTON, KY 40380
                                                                             Basis for the claim:    AIR FILTER SERVICE
          Date(s) debt was incurred 02/6/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KENTUCKY POWER COMPANY                                                Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 371496                                                         Disputed
          Pittsburgh, PA 15250-7496
                                                                             Basis for the claim:    ELECTRIC - STORE 781 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KeyBank Real Estate Capital                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          11501 Outlook Street, Suite 300                                       Disputed
          Overland Park, KS 66211
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KU-Kentucky Utilities Company                                         Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 9001954                                                        Disputed
          Louisville, KY 40290-1954
                                                                                         ELECTRIC - STORES 630, 634 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $450.00
          KULLS PLUMBING & SOFTENER                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          8193 CARROLL NORTHERN RD                                              Disputed
          CARROLL, OH 43112
                                                                             Basis for the claim:    PLUMBING
          Date(s) debt was incurred 01/5/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Kutak Rock LLP (STORE Capital)                                        Contingent
          Attn: Nathan P. Humphrey, Esq.                                        Unliquidated
          1601 California Street, Suite 3100                                    Disputed
          Denver, CO 80202
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $500.00
          LAMAR COMPANIES                                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 96030                                                          Disputed
          BATON ROUGE, LA 70896
                                                                             Basis for the claim:    ADVERTISING
          Date(s) debt was incurred 09/21/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Lancaster Utilities Collection-Offi                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1099                                                           Disputed
          Lancaster, OH 43130-0819
                                                                                         NATURAL GAS/WATER - STORE 2618 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,364.47
          LIBERTY SERVICES INC                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1005 S MAIN ST                                                        Disputed
          WEST MILTON, OH 45383
                                                                             Basis for the claim:    HOOD CLEANER
          Date(s) debt was incurred 06/23/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,318,332.00
          Louis William Sewell, III                                             Contingent
          521 New Bridge Street                                                 Unliquidated
          Jacksonville, NC 28540                                                Disputed
          Date(s) debt was incurred 12/31/2019
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $910,284.00
          Louis William Sewell, III                                             Contingent
          521 New Bridge Street                                                 Unliquidated
          Jacksonville, NC 28540                                                Disputed
          Date(s) debt was incurred 12/31/2019
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,775.00
          M & R CARPET CLEANING                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          500 SINCLAIR LAKE RD                                                  Disputed
          NEWTON GROVE, NC 28366
                                                                             Basis for the claim:    CARPET CLEANING & INSTALLATION
          Date(s) debt was incurred 09/17/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $226.00
          Marilu Mancha                                                         Contingent
          1270 Wintergreen Rd                                                   Unliquidated
          Cove City, NC 28523                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $614.56
          MARLIN BUSINESS BANK                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 13604                                                          Disputed
          PHILADELPHIA, PA 19101
                                                                             Basis for the claim:    DISH MACHINE LEASES
          Date(s) debt was incurred 10/5/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          McLane FoodService Distribution Inc                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          2641 Meadowbrook Road                                                 Disputed
          ROCKY MOUNT, NC 27802
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 3/9/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,758.70
          Merchants Food Service                                                Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 1351                                                           Disputed
          Hattiesburg, MS 39403
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MICROSPACE                                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 60971                                                          Disputed
          Charlotte, NC 28260
                                                                                         PHONES FOR ALL STORES - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $30.00
          MODERN EXTERMINATING                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          627 COLLEGE ST                                                        Disputed
          JACKSONVILLE, NC 28540
                                                                             Basis for the claim:    PEST CONTROL SERVICES
          Date(s) debt was incurred 10/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Monongahela Power                                                     Contingent
          PO BOX 3615                                                           Unliquidated
          443093615                                                             Disputed
          Akron, OH 44309-3615
                                                                             Basis for the claim:    ELECTRIC - STORE 2490 - FOR INFORMATION ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          MOOD MEDIA/MUSAK LLC                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 71070
                                                                                Disputed
          Charlotte, NC 28272
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          MOUNTAINEER GAS                                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 580211                                                         Disputed
          Charlotte, NC 28258-0211
                                                                             Basis for the claim:    NATURAL GAS - STORE 867 - FOR INFORMATION
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,525.54
          MTI DIGITAL INC                                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          407 Lincoln Rd, Suite PHE                                             Disputed
          MIAMI BEACH, FL 33139
                                                                             Basis for the claim:    DIGITAL MUSIC FOR STORES
          Date(s) debt was incurred 10/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Muskingum County Utilities                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          375 RICHARD AVE                                                       Disputed
          Zanesville, OH 43701-6605
                                                                             Basis for the claim:    WATER - STORE 2438 - FOR INFORMATION ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $750.00
          National Restaurant Designers                                         Contingent
          Attn: Officer/Manager                                                 Unliquidated
          3005 Carrington Mill Blvd., Ste 150                                   Disputed
          MORRISVILLE, NC 27560
                                                                             Basis for the claim:    ARCHITECT
          Date(s) debt was incurred 05/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,950.79
          New Market Waste Solutions                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 603843                                                         Disputed
          Charlotte, NC 28260-3843
                                                                                              Waste management for Stores 559, 576, 2454, 774,
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             764, 894, 586, 589, 749, 2607, 2623, 2508, 656, 2603, 714,, 630, 634,
          Last 4 digits of account number                                    722, 781, 867, 2438, 2490, 2618, 662, 814 and 827
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $301,489.00
          Noble Properties Inc.                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          4280 Professional Center Dr Ste 100                                   Disputed
          Palm Beach Gardens, FL 33410
                                                                             Basis for the claim:    Rent for Store 2623
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000,000.00
          Northeast Bank                                                        Contingent
          Attn: Loan Servicing Dept.                                            Unliquidated
          PO Box 171769
                                                                                Disputed
          Boston, MA 02117
          Date(s) debt was incurred 3/24/2021
                                                                             Basis for the claim:    PPP2 Loan
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,638.07
          NUCO2                                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 417902                                                         Disputed
          BOSTON, MA 02241-7902
                                                                             Basis for the claim:    CO2
          Date(s) debt was incurred 08/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,639.19
          OLO INC                                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          285 FULTON ST, FL 82                                                  Disputed
          NEW YORK, NY 10007
                                                                             Basis for the claim:    DELIVERY PARTNER PLATFROM
          Date(s) debt was incurred 09/30/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $154.08
          Onslow Fire Extinguisher                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          349 Center St, STE D                                                  Disputed
          Jacksonville, NC 28546
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $115.00
          P.M.B SERVICES                                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          6160 PARNELL RD                                                       Disputed
          WINSTON SALEM, NC 27107
                                                                             Basis for the claim:    WINDOW CLEANER
          Date(s) debt was incurred 09/22/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PARKERSBURG UTILITY BOARD                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1629                                                           Disputed
          Parkersburg, WV 26102-1629
                                                                             Basis for the claim:    WATER - STORE 2490 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,160.00
          PAVING & RESURFACING INC                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          40 BLACK TOP RD                                                       Disputed
          CHARLESTON, WV 25312
                                                                             Basis for the claim:    PAVING GC 827
          Date(s) debt was incurred 08/23/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PIEDMONT NATURAL GAS                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1246                                                           Disputed
          Charlotte, NC 28201-1246
                                                                                          NATURAL GAS - STORES 559, 576, 586, 2454, 2607 -
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $241.38
          Piney Green Electric Co., Inc.                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          3954 New Bern Highway, 17 North                                       Disputed
          Jacksonville, NC 28546
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $169.45
          PIP PRINTING                                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          329 RIVERVIEW DR                                                      Disputed
          DANVILLE, NC 24541
                                                                             Basis for the claim:    ADVERTISING
          Date(s) debt was incurred 02/17/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,834.00
          PLUMBING DOCTOR                                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          411 CENTRAL AVE                                                       Disputed
          ELIZABETHTOWN, KY 42701
                                                                             Basis for the claim:    PLUMBER
          Date(s) debt was incurred 01/4/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,526.10
          PLUMBING HELPER                                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 6514                                                           Disputed
          HUNTINGTON, WV 25772
                                                                             Basis for the claim:    PLUMBER
          Date(s) debt was incurred 01/6/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Postmaster                                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          719 New Bridge St                                                     Disputed
          Jacksonville, NC 28540
                                                                             Basis for the claim:    Postage machine - FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,553.45
          PRODUCE SOURCE PARTNERS                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          13167 TELCOURT RD                                                     Disputed
          ASHLAND, VA 23005
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 03/20/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $300.00
          PROFESSIONAL WINDOW CLEANING                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 562                                                            Disputed
          INEZ, KY 41224
                                                                             Basis for the claim:    WINDOW CLEANER
          Date(s) debt was incurred 12/15/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $402.50
          PURCHASE POWER                                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 371874                                                         Disputed
          PITTSBURGH, PA 15250
                                                                             Basis for the claim:    POSTAGE
          Date(s) debt was incurred 10/5/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RANDOLPH EMC                                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 880                                                            Disputed
          Robbins, NC 27325-0880
                                                                             Basis for the claim:    ELECTRIC - STORE 2454 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Reidsville Corral Group LLC                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1148                                                           Disputed
          Reidsville, NC 27320
                                                                             Basis for the claim:    Rent for Store 662 - FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $850.00
          RELIABLE HOME SOLUTIONS                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          9328 HORIZON RD                                                       Disputed
          GLEN ALLEN, VA 23060
                                                                             Basis for the claim:    REMODELING
          Date(s) debt was incurred 10/6/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,779.66
          RESTAURANT TECHNOLOGIES                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          12962 COLLECTIONS CENTER DR                                           Disputed
          CHICAGO, IL 60693
                                                                             Basis for the claim:    OIL MANAGEMENT
          Date(s) debt was incurred 10/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Richmond Striping LLC                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          11918 Gordon School Rd                                                Disputed
          Richmond, VA 23236
                                                                             Basis for the claim:    Contractor - FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,742.23
          RJ Thieneman                                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          12488 La Grange Rd                                                    Disputed
          Louisville, KY 40245
                                                                             Basis for the claim:    Cam tax
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          ROANOKE GAS COMPANY                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 70848                                                          Disputed
          Charlotte, NC 28272-0848
                                                                                         NATURAL GAS - STORE 774 -FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          RUSSELL WATER WORKS                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 394                                                            Disputed
          Russell, KY 41169
                                                                             Basis for the claim:    WATER - STORE 781 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $150,421.00
          SBBH Golden Corral, LLC                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          101 S Kings Drive, Suite 200                                          Disputed
          Charlotte, NC 28204
                                                                             Basis for the claim:    Rent for Store 589
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Scott & Ross Family Trust                                             Contingent
          Attn: Elliott Scott/Managing Agent                                    Unliquidated
          5252 Balboa Avenue, Suite 1000                                        Disputed
          San Diego, CA 92117
                                                                             Basis for the claim:    Rent for Store 630 - FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $420.00
          Security Zone                                                         Contingent
          Attn: Officer/Manager                                                 Unliquidated
          3736 Franklin Rd SW                                                   Disputed
          Roanoke, VA 24014
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $511.16
          Shell Gas                                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 6293                                                           Disputed
          Carol Stream, IL 60197
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $790,293.61
          SHULER MEATS                                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          124 SHULER RD                                                         Disputed
          THOMASVILLE, NC 27360
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 10/21/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $544.65
          SIGN PROS                                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          7 OAKWOOD CT                                                          Disputed
          RINEYVILLE, KY 40162
                                                                             Basis for the claim:    SIGNAGE
          Date(s) debt was incurred 06/24/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $101.06
          Sleep Inn and Suites at Fort Lee                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          2200 Waterside Rd                                                     Disputed
          Prince George, VA 23875
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $157.50
          SMITH AND SONS PLUMBING                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1020 LEROY LN                                                         Disputed
          ASHLAND, KY 41102
                                                                             Basis for the claim:    PLUMBER
          Date(s) debt was incurred 06/23/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $87.43
          South Central Power Co                                                Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 182058                                                         Disputed
          Columbus, OH 43218
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SPECTRUM                                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 223085                                                         Disputed
          Pittsburgh, PA 15251
                                                                                             PHONE/INTERNET FOR STORES 2618, 559, 656, 722,
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             2438, 2485, 2603, 2607, 630 AND OFFICE - FOR NOTICE PURPOSES
          Last 4 digits of account number                                    ONLY
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $400.00
          SPENCE'S PEST CONTROL                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          11600 GROVE PARK COURT                                                Disputed
          MIDLOTHIAN, VA 23114
                                                                             Basis for the claim:    PEST CONTROL
          Date(s) debt was incurred 09/8/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $169.00
          SPORTS MEDIA                                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          3315 E Russell Rd, Ste A4, #180                                       Disputed
          LAS VEGAS, NV 89120
                                                                             Basis for the claim:    ADVERTISING
          Date(s) debt was incurred 08/24/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $125.00
          Standen Appliance Repair                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1811 John Drive                                                       Disputed
          Danville, VA 24540
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,702.56
          State Auto Insurance Co.                                              Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 776721                                                         Disputed
          Chicago, IL 60677
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,794.00
          Store Capital Corp. - Keybank RE Ca                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box145404                                                          Disputed
          CINCINNATI, OH 45250
                                                                             Basis for the claim:    FRANCHISE TAX REIMBURSEMENT
          Date(s) debt was incurred 09/1/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,073,981.00
          STORE Master Funding III, LLC                                         Contingent
          Attn: Michael Bennett, Exec. VP                                       Unliquidated
          8501 E. Princess Drive, Suite 190                                     Disputed
          Scottsdale, AZ 85255
                                                                             Basis for the claim:    Rent for Stores 714, 749, 781, 814, 867, 2490 and
          Date(s) debt was incurred
                                                                             2607
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $104.05
          Suddenlink                                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 70340                                                          Disputed
          Philadelphia, PA 19176
                                                                             Basis for the claim:    Phone/internet for Stores 2490 and 867
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,591,304.00
          SVCN 4 LLC c/o The RMR Group LLC                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          255 Washington St., Suite 300                                         Disputed
          Newton, MA 02458
                                                                             Basis for the claim:    Rent for Stores 656, 764, 774, 827, 894 and 2603
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $90.60
          T&S Mechanical                                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          4107 Dodds Ridge Dr                                                   Disputed
          Richmond, VA 23236
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $49.75
          TAYLOR FREEZER SALES                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 5807                                                           Disputed
          CHESAPEAKE, VA 23324
                                                                             Basis for the claim:    MAINT & PARTS
          Date(s) debt was incurred 09/14/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          The Corral Group of Jacksonville                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 1685                                                           Disputed
          Jacksonville, NC 28541
                                                                             Basis for the claim:    Rent for Store 559 - FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          The Corral Group of Lancaster                                         Contingent
          The Community Bank-Attn:Officer/Mgr                                   Unliquidated
          201 North Columbus Street                                             Disputed
          Lancaster, OH 43130
                                                                             Basis for the claim:    Rent for Store 2618 - FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $800.00
          THE DAILY NEWS                                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 102475                                                         Disputed
          ATLANTA, GA 30368
                                                                             Basis for the claim:    ADVERTISING
          Date(s) debt was incurred 09/30/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          THE ENERGY COOPERATIVE                                                Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 182137                                                         Disputed
          Columbus, OH 43218-2137
                                                                                         NATURAL GAS - STORE 2438 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $748.80
          THE ICEE COMPANY                                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 515723                                                         Disputed
          LOS ANGELES, CA 90051
                                                                             Basis for the claim:    ICEE MIX
          Date(s) debt was incurred 09/15/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          The Lions Cleaning Services                                           Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1327 SCHOLAR ST                                                       Disputed
          LOUISVILLE, KY 40213
                                                                             Basis for the claim:    HOOD CLEANING
          Date(s) debt was incurred 03/9/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700,812.00
          The Loan Source                                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          353 E 83rd St.
                                                                                Disputed
          New York, NY 10028
          Date(s) debt was incurred 4/16/2020
                                                                             Basis for the claim:    PPP Loan
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $520.00
          Thompson and Son Electric                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          235 LINCOLN AVE                                                       Disputed
          ELIZABETHTOWN, KY 42701
                                                                             Basis for the claim:    ELECTRICIAN
          Date(s) debt was incurred 01/20/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $175,058.00
          Toler Properties, LLC                                                 Contingent
          Attn: Officer/Manager                                                 Unliquidated
          330 Harper Park Dr., Suite G                                          Disputed
          Beckley, WV 25801
                                                                             Basis for the claim:    Rent for Store 2663
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $328.00
          Tom Marks                                                             Contingent
          3601 Calvary Dr                                                       Unliquidated
          Greenville, NC 27834                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          TOUCHTONE                                                             Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 780593                                                         Disputed
          Philadelphia, PA 19178
                                                                             Basis for the claim:    PHONE FOR OFFICE - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Town of Wake Forest, NC                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          301 S BROOKS ST                                                       Disputed
          Wake Forest, NC 27587
                                                                             Basis for the claim:    ELECTRIC - STORE 2485 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Treasurer, Chesterfield County                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 71143                                                          Disputed
          Charlotte, NC 28272-1143
                                                                             Basis for the claim:    WATER - STORE 714 - FOR NOTICE PURPOSES
          Date(s) debt was incurred
                                                                             ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $479.37
          UNIFIRST CORP                                                         Contingent
          Attn: Officer/Manager                                                 Unliquidated
          68 JONSPIN RD                                                         Disputed
          WILMINGTON, MA 01887
                                                                             Basis for the claim:    LINENS
          Date(s) debt was incurred 09/15/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,295.00
          Universal Atlantic Systems                                            Contingent
          Attn: Officer/Manager                                                 Unliquidated
          45 W. Industrial Boulevard                                            Disputed
          Paoli, PA 19301
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 09/15/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $183.30
          UPS                                                                   Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 809488                                                         Disputed
          Chicago, IL 60680
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $43,078.42
          US FOODS INC                                                          Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 602292                                                         Disputed
          CHARLOTTE, NC 28260
                                                                             Basis for the claim:    Restaurant food and supplies
          Date(s) debt was incurred 09/20/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,166.66
          Van Wagner Sports & Entertainment                                     Contingent
          Attn: Officer/Manager                                                 Unliquidated
          800 Third Ave - 28th Floor                                            Disputed
          New York, NY 10022
                                                                             Basis for the claim:    Sponsorship/Adv
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VCS Fire & Security INC                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          10343-B Kinga Acre Rd                                                 Disputed
          Ashland, VA 23005
                                                                             Basis for the claim:    FOR NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          VERIZON                                                               Contingent
                                                                                Unliquidated
          PO BOX 660108                                                         Disputed
          Dallas, TX 75266
                                                                                          PHONE FOR STORE 774 AND CORPORATE CELL
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PHONES - FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,739.21
          Visa                                                                  Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 580340                                                         Disputed
          Charlotte, NC 28258
                                                                             Basis for the claim:    Credit card purchases
          Date(s) debt was incurred
          Last 4 digits of account number       0006                         Is the claim subject to offset?     No       Yes


 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $77.95
          VRC Companies LLC - Dept. 5874                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 11407                                                          Disputed
          Birmingham, AL 35246-5874
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          West Virginia American Water Co.                                      Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO BOX 371880                                                         Disputed
          Pittsburgh, PA 15250-7800
                                                                                         WATER - STORES 814, 867 - FOR NOTICE
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Platinum Corral, L.L.C.                                                                 Case number (if known)
              Name

 3.216     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Western Virginia Water Authority                                     Contingent
           Attn: Officer/Manager                                                Unliquidated
           PO BOX 17381                                                         Disputed
           Baltimore, MD 21297-1381
                                                                             Basis for the claim:    WATER - STORE 774 - FOR NOTICE PURPOSES
           Date(s) debt was incurred
                                                                             ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.217     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Winchester Municipal Utilities                                       Contingent
           Attn: Officer/Manager                                                Unliquidated
           PO BOX 4177                                                          Disputed
           Winchester, KY 40392
                                                                             Basis for the claim:    WATER - STORE 630 - FOR NOTICE PURPOSES
           Date(s) debt was incurred
                                                                             ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.218     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           WINDSTREAM                                                           Contingent
           Attn: Officer/Manager                                                Unliquidated
           PO BOX 9001908                                                       Disputed
           Louisville, KY 40290
                                                                                         PHONES FOR STORES 656 AND 634 - FOR NOTICE
                                                                             Basis for the claim:
           Date(s) debt was incurred
                                                                             PURPOSES ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.219     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $167.00
           WJCV                                                                 Contingent
           Attn: Officer/Manager                                                Unliquidated
           123 A Arnold Rd                                                      Disputed
           Jacksonville, NC 28546
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.220     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $261,618.00
           WSR Sumter-c/o West Realty Group                                     Contingent
           Attn: Officer/Manager                                                Unliquidated
           875 Saint Nicholas Ave., Apt. 1                                      Disputed
           New York, NY 10032
                                                                             Basis for the claim:    Rent for Store 2508
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                      347,025.68
 5b. Total claims from Part 2                                                                            5b.   +    $                   29,057,481.22

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      29,404,506.90


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 Debtor       Platinum Corral, L.L.C.                                                             Case number (if known)
              Name




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 Fill in this information to identify the case:

 Debtor name         Platinum Corral, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Store #586 - Hickory,
             lease is for and the nature of               NC
             the debtor's interest                        1053 Lenoir Rhyne
                                                          Blvd.
                                                          Hickory, NC 28602
                  State the term remaining                7/31/2038                     1053 Lenoir Rhyne Boulevard LLC
                                                                                        Mr. and Mrs. Russell Wachtier
             List the contract number of any                                            740 Saint Nicholas Ave., Room 2
                   government contract                                                  New York, NY 10031


 2.2.        State what the contract or                   Administrative Services
             lease is for and the nature of               Agreement - Medical
             the debtor's interest                        and HRA
                                                          Administrative Services
                                                          Agreement
                  State the term remaining                Effective as of January       ACS Benefit Services, LLC
                                                          1, 2020                       Attn: Officer/Manager
             List the contract number of any                                            5660 University Parkway, 5th Floor
                   government contract                                                  Winston Salem, NC 27105


 2.3.        State what the contract or                   Office - Lanier Copier
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Contract signed               Advanced Office Solutions
                                                          7/12/2018 (yearly)            Attn: Officer/Manager
             List the contract number of any                                            PO BOX 815
                   government contract                                                  Swansboro, NC 28584


 2.4.        State what the contract or                   Store #2438 Zanesville,
             lease is for and the nature of               OH
             the debtor's interest                        3761 Northpointe Drive
                                                          Zanesville, OH 43701
                  State the term remaining                10/31/2022                    ARC CAFEUSA001, LLC
                                                                                        DEPT. 880044 (ID: 082070)
             List the contract number of any                                            PO BOX 29650 - Attn: Officer/Mgr.
                   government contract                                                  Phoenix, AZ 85038



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 Debtor 1 Platinum Corral, L.L.C.                                                                Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Safes for Stores 2607,
             lease is for and the nature of               586, 589, 656, 2508,
             the debtor's interest                        714, 749, 764, 2623,
                                                          576, 2485
                  State the term remaining                                               Brinks Inc.
                                                                                         Attn: Officer/Manager
             List the contract number of any                                             7373 Solutions Center
                   government contract                                                   Chicago, IL 60677


 2.6.        State what the contract or                   Professional services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Contract signed                Capital Insight, LLC
                                                          1/28/2021                      Attn: Officer/Manager
             List the contract number of any                                             109 N Acacia Ave
                   government contract                                                   Solana Beach, CA 92075


 2.7.        State what the contract or                   Store #2454 -
             lease is for and the nature of               Asheboro, NC - Ground
             the debtor's interest                        Lease
                                                          1070 East Dixie Dr.
                                                          Asheboro, NC 27203
                  State the term remaining                7/1/2022
                                                                                         Charles W. Burrows
             List the contract number of any                                             854 East Dixie Dr.
                   government contract                                                   Asheboro, NC 27203


 2.8.        State what the contract or                   Store #0722 -
             lease is for and the nature of               Chillicothe, OH
             the debtor's interest                        1660 North Bridge St
                                                          Chillicothe, OH 45601
                  State the term remaining                1/31/2023                      Chillicothe Bowling Lanes Inc.
                                                                                         Attn: Officer/Manager
             List the contract number of any                                             1680 N Bridge St
                   government contract                                                   Chillicothe, OH 45601


 2.9.        State what the contract or                   To go printer - Stores
             lease is for and the nature of               576, 586, 589, 764, 559,
             the debtor's interest                        774, 894, 2607

                  State the term remaining                2-yr contract signed           CHOWLY
                                                          7/12/2019                      Attn: Officer/Manager
             List the contract number of any                                             225 W WACKER DR., STE 550
                   government contract                                                   Chicago, IL 60606


 2.10.       State what the contract or                   Towels, aprons, mats,
             lease is for and the nature of               chef coats for Stores
             the debtor's interest                        714, 764, 781, 814, 827,       Cintas
                                                          867, 722, 2490, 2618           Attn: Officer/Manager
                  State the term remaining                Contracts signed               PO BOX 630803
                                                          12/18/16 and 8/13/2018         Cincinnati, OH 45263
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 Debtor 1 Platinum Corral, L.L.C.                                                               Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Store #2454 -
             lease is for and the nature of               Asheboro, NC -
             the debtor's interest                        Building Lease
                                                          1070 East Dixie Dr.
                                                          Asheboro, NC 27203
                  State the term remaining                                              Corral Group of Asheboro
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            PO BOX 1616
                   government contract                                                  Morehead City, NC 28557


 2.12.       State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Douglas Ray Higdon
             List the contract number of any                                            391 Foxwood Dr.
                   government contract                                                  Richmond, KY 40475


 2.13.       State what the contract or                   Dish Machines - Stores
             lease is for and the nature of               586, 656, 2454, 2438,
             the debtor's interest                        894

                  State the term remaining                Contract end dates            Ecolab Inc.
                                                          2021 and 2022                 Attn: Officer/Manager
             List the contract number of any                                            PO BOX 32027
                   government contract                                                  New York, NY 10087


 2.14.       State what the contract or                   Dish Machines for
             lease is for and the nature of               Stores 781, 2603, 714;
             the debtor's interest                        Booster Heater for
                                                          Store 634
                  State the term remaining                Month to month                Ecolab Inc.
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            PO Box 32027
                   government contract                                                  New York, NY 10087


 2.15.       State what the contract or                   Stores - Utility Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Engie/Ecova
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            1313 N Atlantic St., Suite 500
                   government contract                                                  Spokane, WA 99201




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 Debtor 1 Platinum Corral, L.L.C.                                                                Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.16.       State what the contract or                   Ice Machines for Stores
             lease is for and the nature of               749 and 764
             the debtor's interest

                  State the term remaining                Month to month                 Foster's Refrigeration
                                                                                         Attn: Officer/Manager
             List the contract number of any                                             315 W 22nd St
                   government contract                                                   Richmond, VA 23225


 2.17.       State what the contract or                   Stores - MIS, POS, Help
             lease is for and the nature of               Desk
             the debtor's interest

                  State the term remaining                Agreement signed               Golden Corral Corporation
                                                          12/15/2018                     Attn: Officer/Manager
             List the contract number of any                                             P. O. Box 29502
                   government contract                                                   Raleigh, NC 27626


 2.18.       State what the contract or                   Franchise Agreements
             lease is for and the nature of               for Stores 2603, 2618,
             the debtor's interest                        2508, 2485, 2607, 764;
                                                          Franchise Agreements
                                                          and Extension
                                                          Addendums for Stores
                                                          781, 722, 2663, 867,
                                                          827, 814, 656, 2490,
                                                          662, 2438, 2454, 576,
                                                          589, 749, 586, 894, 714,
                                                          774; Franchise
                                                          Agreements and
                                                          Addendum to
                                                          Franchise Agreement
                                                          for Stores 634, 630,
                                                          2623, 559
                  State the term remaining                                               Golden Corral Franchising Systems
                                                                                         Attn: Officer/Manager
             List the contract number of any                                             PO Box 29502
                   government contract                                                   Raleigh, NC 27626


 2.19.       State what the contract or                   401(K) Plan
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Great-West Trust Company, LLC
                                                                                         Attn: Officer/Manager
             List the contract number of any                                             8505 E Orchard Rd
                   government contract                                                   Greenwood Village, CO 80111


 2.20.       State what the contract or                   Store 559 - Dish
             lease is for and the nature of               Machine and Equip              Hobart
             the debtor's interest                                                       Attn: Officer/Manager
                                                                                         2725 Old Wrightsboro Rd, Ste 2E
                  State the term remaining                1 year contract                Wilmington, NC 28405
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 4 of 11
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 Debtor 1 Platinum Corral, L.L.C.                                                             Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                                                          9/24/20-9/23/21
             List the contract number of any
                   government contract


 2.21.       State what the contract or                   Store #2485 - Wake
             lease is for and the nature of               Forest, NC
             the debtor's interest                        11016 Capital Blvd.
                                                          Wake Forest, NC 27587
                  State the term remaining                12/27/2047                  HP-WAKEFOREST GC, LLC
                                                                                      Holly Park Inv. c/o Dan Austin
             List the contract number of any                                          PO BOX 19669
                   government contract                                                Raleigh, NC 27619


 2.22.       State what the contract or                   Safes for Stores 559,
             lease is for and the nature of               2454, 774, 894, 603,
             the debtor's interest                        630, 634, 781, 867,
                                                          2438, 2490, 2618, 722;
                                                          Amendment to
                                                          Contract signed
                                                          10/2020.
                  State the term remaining                Contract signed 5/29/18     Integrated Cash Logistics Inc.
                                                          for 3 years                 Attn: Officer/Manager
             List the contract number of any                                          PO Box 9560
                   government contract                                                Wilmington, DE 19809


 2.23.       State what the contract or                   Security; Store 749 -
             lease is for and the nature of               Vista System, JCI
             the debtor's interest                        owned (5-YR
                                                          CONTRACT, END DATE
                                                          5/17/22); Store 894 -
                                                          Vista system, JCI
                                                          owned (5 yr contract,
                                                          end date 10/16/22)
                  State the term remaining                Contract signed 7/11/11     JCI/ADT/Tyco
                                                                                      Attn: Officer/Manager
             List the contract number of any                                          PO BOX 371967
                   government contract                                                Pittsburgh, PA 15250


 2.24.       State what the contract or                   Store 559 - Digital
             lease is for and the nature of               Bulletin
             the debtor's interest

                  State the term remaining                Contract signed 6/18/20     Lamar Companies
                                                                                      Attn: Officer/Manager
             List the contract number of any                                          PO BOX 96030
                   government contract                                                Baton Rouge, LA 70896


 2.25.       State what the contract or                   Store 634 - Water
             lease is for and the nature of               Softener - Assumption       Leaf
             the debtor's interest                        Application signed          Attn: Officer/Manager
                                                          1/28/20                     PO BOX 5066
                  State the term remaining                Transfer Agreement          Hartford, CT 06102
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                  Page 5 of 11
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 Debtor 1 Platinum Corral, L.L.C.                                                            Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                                                          signed 2/19/20
             List the contract number of any
                   government contract


 2.26.       State what the contract or                   Lease: Storage
             lease is for and the nature of               Building
             the debtor's interest

                  State the term remaining                                           LWS III LLC
                                                                                     Attn: Officer/Manager
             List the contract number of any                                         521 NEW BRIDGE STREET
                   government contract                                               Jacksonville, NC 28540


 2.27.       State what the contract or                   Dish Machines for
             lease is for and the nature of               Stores 589 and 2454
             the debtor's interest

                  State the term remaining                Contracts end date         Marlin
                                                          4/25/22 and 1/25/23        Attn: Officer/Manager
             List the contract number of any                                         PO BOX 13604
                   government contract                                               Philadelphia, PA 19101


 2.28.       State what the contract or                   Store 656 - Food
             lease is for and the nature of               Services
             the debtor's interest

                  State the term remaining                                           Meals on Wheels
                                                                                     Attn: Officer/Manager
             List the contract number of any                                         104 E Center St
                   government contract                                               Lexington, NC 27292


 2.29.       State what the contract or                   All stores - Kalypso
             lease is for and the nature of               music player
             the debtor's interest

                  State the term remaining                5 Yr contract signed       MTI DIGITAL INC
                                                          2/12/19                    Attn: Officer/Manager
             List the contract number of any                                         407 Lincoln Rd, Suite PHE
                   government contract                                               Miami Beach, FL 33139


 2.30.       State what the contract or                   All Stores - Trash,
             lease is for and the nature of               recycle, grease trap
             the debtor's interest

                  State the term remaining                                           New Market Waste
                                                                                     Attn: Officer/Manager
             List the contract number of any                                         PO BOX 603843
                   government contract                                               Charlotte, NC 28260-3843




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 Debtor 1 Platinum Corral, L.L.C.                                                               Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.31.       State what the contract or                   Store #2623 -
             lease is for and the nature of               Greenville, NC
             the debtor's interest                        504 Greenville Blvd SW
                                                          Greenville, NC 27834
                  State the term remaining                4/30/2029                     Noble Properties Inc.
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            4280 Professional Center Dr Ste 100
                   government contract                                                  Palm Beach Gardens, FL 33410


 2.32.       State what the contract or                   Stores 2508, 2603, 266,
             lease is for and the nature of               2607, 2623 - Co2
             the debtor's interest                        equipment

                  State the term remaining                5 Yr contract signed          NUCO2
                                                          10/2/19                       Attn: Officer/Manager
             List the contract number of any                                            PO BOX 417902
                   government contract                                                  Boston, MA 02241-7902


 2.33.       State what the contract or                   Stores 589, 2607, 586 -
             lease is for and the nature of               40ft used storage
             the debtor's interest                        container

                  State the term remaining                12 Mo. Rental signed          Onsite Storage
                                                          10/14/20                      Attn: Officer/Manager
             List the contract number of any                                            PO BOX 1051
                   government contract                                                  Wildomar, CA 92595


 2.34.       State what the contract or                   Office - Postage meter
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Agreement signed              Pitney Bowes
                                                          7/1/19                        Attn: Officer/Manager
             List the contract number of any                                            PO BOX 371887
                   government contract                                                  Pittsburgh, PA 15250-7887


 2.35.       State what the contract or                   All stores - Oil
             lease is for and the nature of               program/equipment
             the debtor's interest

                  State the term remaining                3 yr contract signed          RTI
                                                          3/11/20                       Attn: Officer/Manager
             List the contract number of any                                            12962 Collections Center Drive
                   government contract                                                  Chicago, IL 60693


 2.36.       State what the contract or                   Store #589 - Concord,
             lease is for and the nature of               NC
             the debtor's interest                        1540 Concord Pkwy N.
                                                          Concord, NC 28027             SBBH Golden Corral, LLC
                  State the term remaining                4/30/2020 - 4/30/2026         Attn: Scott Bortz
                                                                                        101 S. Kings Drive, Suite 200
             List the contract number of any                                            Charlotte, NC 28204
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 7 of 11
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 Debtor 1 Platinum Corral, L.L.C.                                                               Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.37.       State what the contract or                   Platinum Corral, L.L.C.
             lease is for and the nature of               Health Insurance
             the debtor's interest

                  State the term remaining                                              Southern Scripts, LLC
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            P. O. Box 2482
                   government contract                                                  Natchitoches, LA 71457


 2.38.       State what the contract or                   Store 714, 749, 764 -
             lease is for and the nature of               Pest program
             the debtor's interest

                  State the term remaining                Contract signed 5/24/19       Spence's Pest Control
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            11600 Grove Park Court
                   government contract                                                  Midlothian, VA 23114


 2.39.       State what the contract or                   Master Lease:
             lease is for and the nature of               Store #714 - 11 S.
             the debtor's interest                        Providence Rd,
                                                          Richmond, VA 23236
                                                          Store #749 - 4050
                                                          Gaskins Rd., Glen
                                                          Allen, VA 23060
                                                          Store #781 - 21 Russell
                                                          Place, Ashland, KY
                                                          41101
                                                          Store #814 - 5177 R. 60
                                                          East, Huntington, WV
                                                          25705
                                                          Store #867 - 412 New
                                                          Goff Mountain Road,
                                                          Cross Lanes, WV 25313
                                                          Store #2490 - 1302
                                                          Garfield Avenue,
                                                          Parkersburg, WV 26101
                                                          Store #2607 - 7701 N.
                                                          Tryon St., Charlotte, NC
                                                          28262
                  State the term remaining                4/30/2029                     STORE Master Funding III, LLC
                                                                                        Attn: Michael Bennett, Exec. VP
             List the contract number of any                                            8501 E. Princess Drive, Suite 190
                   government contract                                                  Scottsdale, AZ 85255




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 Debtor 1 Platinum Corral, L.L.C.                                                             Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.40.       State what the contract or                   Master Lease:
             lease is for and the nature of               Store #656 - 1507
             the debtor's interest                        Cotton Grove Rd.,
                                                          Lexington, NC 27292
                                                          Store #764 - 2501
                                                          Conduit Rd., Colonial
                                                          Heights, VA 23834
                                                          Store #774 - 1441 Town
                                                          Square Blvd., Roanoke,
                                                          VA 24012
                                                          Store #827 - 307 Upper
                                                          River Road, Gallipolis,
                                                          OH 45631
                                                          Store #894 - 4005
                                                          Wards Rd., Lynchburg,
                                                          VA 24502
                                                          Store #2603 - 195 Holt
                                                          Garrison Parkway,
                                                          Danville, VA 24540
                  State the term remaining                8/31/2033                   SVCN 4 LLC c/o The RMR Group LLC
                                                                                      Attn: Officer/Manager
             List the contract number of any                                          255 Washington St., Suite 300
                   government contract                                                Newton, MA 02458


 2.41.       State what the contract or                   Client Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                1 year                      Synergi Partners Inc.
                                                                                      Attn: Officer/Manager
             List the contract number of any                                          P.O. Box 5599
                   government contract                                                Florence, SC 29502


 2.42.       State what the contract or                   Store #0559 -
             lease is for and the nature of               Jacksonville, NC
             the debtor's interest                        2055 North Marine
                                                          Blvd.
                                                          Jacksonville, NC 28540
                  State the term remaining                                            The Corral Group of Jacksonville
                                                                                      Attn: Officer/Manager
             List the contract number of any                                          PO BOX 1685
                   government contract                                                Jacksonville, NC 28541


 2.43.       State what the contract or                   Store #2663 -
             lease is for and the nature of               Christiansburg, NC
             the debtor's interest                        2580 N. Frankllin St.
                                                          Christiansburg, VA
                                                          24073
                  State the term remaining                1/30/2025                   Toler Properties, LLC
                                                                                      Attn: Ray Toler
             List the contract number of any                                          330 Harper Park Dr., Suite G
                   government contract                                                Beckley, WV 25801



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                  Page 9 of 11
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 Debtor 1 Platinum Corral, L.L.C.                                                               Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.44.       State what the contract or                   Store 634 - Aprons,
             lease is for and the nature of               mats, towels
             the debtor's interest

                  State the term remaining                Contract signed 7/18/19       Unifirst
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            2900 Blankenbaker Pkwy, Ste 150
                   government contract                                                  Louisville, KY 40299


 2.45.       State what the contract or                   Store 630 - Aprons,
             lease is for and the nature of               mats, towels
             the debtor's interest

                  State the term remaining                Contract signed 7/18/19       Unifirst
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            715 Miles Point Way
                   government contract                                                  Lexington, KY 40510


 2.46.       State what the contract or                   Stores 586, 589, 2607 -
             lease is for and the nature of               Aprons, mats, towels,
             the debtor's interest                        mops

                  State the term remaining                Contract signed 8/20/13       Unifirst
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            PO BOX 584
                   government contract                                                  Newell, NC 28126


 2.47.       State what the contract or                   Stores 2454 and 2508 -
             lease is for and the nature of               Security
             the debtor's interest

                  State the term remaining                Contract signed 5/1/02        Universal Atlantic Systems
                                                                                        Attn: Officer/Manager
             List the contract number of any                                            45 W. Industrial Boulevard
                   government contract                                                  Paoli, PA 19301


 2.48.       State what the contract or                   Office - Shipping
             lease is for and the nature of               packages
             the debtor's interest

                  State the term remaining                Agreement signed              UPS
                                                          7/17/18                       Attn: Officer/Manager
             List the contract number of any                                            PO BOX 809488
                   government contract                                                  Chicago, IL 60680-9488


 2.49.       State what the contract or                   Insurance carrier for
             lease is for and the nature of               group benefits for
             the debtor's interest                        employees
                                                                                        USAble Life
                  State the term remaining                                              Attn: Officer/Manager
                                                                                        PO Box 1650
             List the contract number of any                                            Little Rock, AR 72203-1650
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 Debtor 1 Platinum Corral, L.L.C.                                                             Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.50.       State what the contract or                   Bank Card Merchant
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                August 31, 2023             VANTIV, LLC a/d/a IQ
                                                                                      Attn: Officer/Manager
             List the contract number of any                                          8500 Governors Hill Dr.
                   government contract                                                Cincinnati, OH 45249


 2.51.       State what the contract or                   Store #2508 - Sumter,
             lease is for and the nature of               SC
             the debtor's interest                        2385 WalMart Blvd
                                                          Sumter, SC 29150
                  State the term remaining                1/31/2022                   WSR Sumter-c/o West Realty Group
                                                                                      Attn: Officer/Manager
             List the contract number of any                                          875 Saint Nicholas Ave., Apt. 1
                   government contract                                                New York, NY 10032




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 Fill in this information to identify the case:

 Debtor name         Platinum Corral, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Louis William                     521 New Bridge Street                             Dogwood State Bank                 D
             Sewell, III                       Jacksonville, NC 28540                            FKA Sound Bank                     E/F       3.67
                                                                                                                                    G




    2.2      Louis William                     521 New Bridge Street                             LBC2 Trust                         D   2.4
             Sewell, III                       Jacksonville, NC 28540                                                               E/F
                                                                                                                                    G




    2.3      Louis William                     521 New Bridge Street                             Pacific Premier Bank               D   2.12
             Sewell, III                       Jacksonville, NC 28540                                                               E/F
                                                                                                                                    G




    2.4      Louis William                     521 New Bridge Street                             Pacific Premier Bank               D   2.13
             Sewell, III                       Jacksonville, NC 28540                                                               E/F
                                                                                                                                    G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Platinum Corral, L.L.C.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       For prior year:                                                                             Operating a business                   $26,499,430.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $89,956,780.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                   $85,206,248.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       For prior year:                                                                         vending machines,
       From 1/01/2020 to 12/31/2020                                                            employee meals                                 $189,669.00


       For year before that:                                                                   vending machines,
       From 1/01/2019 to 12/31/2019                                                            employee meals                                 $210,503.00


       For the fiscal year:                                                                    vending machines,
       From 1/01/2018 to 12/31/2018                                                            employee meals                                 $546,837.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
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 Debtor       Platinum Corral, L.L.C.                                                                   Case number (if known)




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Exhibit 1 attached.                                     1/9/2021-4/8/                 $4,930,724.23                Secured debt
                                                                           2021                                                       Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Louis William Sewell, III                                   3/15/2020-3/1                    $59,500.00           Rent
               521 New Bridge Street                                       5/2021
               Jacksonville, NC 28540

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property

       WAKE FOREST - 2485                                        RESTAURANT - PERMANENTLY CLOSED                               9/1/2020                       Unknown
       11016 CAPITAL BLVD
       Wake Forest, NC 27587

       CHRISTIANSBURG - 2663                                     RESTAURANT - PERMANENTLY CLOSED                               9/1/2020                       Unknown
       2580 N FRANKLIN ST
       Christiansburg, VA 24073

       CHILLICOTHE - 722                                         RESTAURANT - PERMANENTLY CLOSED                               8/1/2020                       Unknown
       1660 N BRIDGE ST
       Chillicothe, OH 45601

       REIDSVILLE - 662                                          RESTAURANT - PERMANENTLY CLOSED                               9/1/2020                       Unknown
       1566 FREEWAY DR
       Reidsville, NC 27320

       LANCASTER - 2618                                          RESTAURANT - PERMANENTLY CLOSED                               3/15/2020                      Unknown
       2296 North Memorial Drive
       Lancaster, OH 43130


6. Setoffs
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 Debtor       Platinum Corral, L.L.C.                                                                   Case number (if known)



    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
    of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
    debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    SBBH Golden Corral, LLC and                       Unpaid rent -             County of Mecklenburg                        Pending
               Southstar Holdings-Adams                          monetary                  Superior Court                               On appeal
               Farm, LLC v. Platinum, LLC                        damages                   3600 Courthouse, 832 E. 4th
                                                                                                                                        Concluded
               20 CVS 9302                                                                 St.
                                                                                           PO BOX37971
                                                                                           Charlotte, NC 28237-7971

       7.2.    BRICKSTREET/ENCOVA                                Personal Injury           Workers' Compensation                        Pending
               Platinum Corral, LLC                                                        Claim                                        On appeal
               Michelle Guidea
                                                                                                                                        Concluded
               Claim No. 2019008610

       7.3.    State Auto                                        Personal Injury                                                        Pending
                                                                                                                                        On appeal
               Platinum Corral, LLC
                                                                                                                                        Concluded
               Sandra Rodgers
               Claim No. PR329883

       7.4.    State Auto                                        Personal Injury -                                                      Pending
                                                                 Minor child                                                            On appeal
               Platinum Corral, LLC
                                                                                                                                        Concluded
               Minor Child
               Claim No. PR287568

       7.5.    Nationwide                                        Personal Injury                                                        Pending
                                                                                                                                        On appeal
               Platinum Corral, LLC
                                                                                                                                        Concluded
               Doris Smith
               Claim No. GL291534GJ

       7.6.    Nationwide                                        Personal Injury -                                                      Pending
                                                                 Minor Child                                                            On appeal
               Platinum Corral, LLC
                                                                                                                                        Concluded
               Minor child
               Claim No. 274417GI

       7.7.    James S. Rimar, Plaintiff v.                      Civil - Workers'          Fairfield County Ohio Civil                  Pending
               Platinum Corral, LLC,                             Compensation              Division                                     On appeal
               Defendant-Employer, and                           claim                     Hall of Justice - 2nd Floor
                                                                                                                                        Concluded
               Stephanie McCloud,                                                          224 E. Main Street
               Administrator, Ohio Bureau of                                               Lancaster, OH 43130
               Workers' Compensation,
               Defendant-Administrator
               20CV311 (BWC Claim No.
               18-111025)


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               Case title                                        Nature of case            Court or agency's name and               Status of case
               Case number                                                                 address
       7.8.    Chillicothe Bowling Lanes,                        Collection                Ross County Court of                        Pending
               Inc. DBA Shawnee Lanes                                                      Common Pleas                                On appeal
               vs.                                                                         2 N Paint St
                                                                                                                                       Concluded
               Platinum Corral c/o                                                         Suite B
               Corporation Service                                                         Chillicothe, OH 45601
               Company
               20CI000359

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                            Value

       9.1.    New River YMCA                                    Food
               Attn: Officer/Manager
               159 Chaney Ave.
               Jacksonville, NC 28540                                                                                    7/17/2019                        $1,000.00

               Recipients relationship to debtor



       9.2.    NC Restaurant & Lodging                           Monetary
               Association
               Attn: Officer/Manager
               222 N. Person St., Unit 210
               Raleigh, NC 27601                                                                                         2019 and 2020                  $23,800.00

               Recipients relationship to debtor



       9.3.    Onslow Memorial Hospital                          Food
               Foundation
               Attn: Officer/Manager
               317 Western Blvd.
               Jacksonville, NC 28546                                                                                    3/18/2021                        $1,000.00

               Recipients relationship to debtor



       9.4.    Onslow Co. GOP                                    Food
               Attn: Officer/Manager
               825 Gum Branch Rd., Suite
               136
               Jacksonville, NC 28540                                                                                    4/9/2019                         $2,500.00

               Recipients relationship to debtor




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               Recipient's name and address                      Description of the gifts or contributions               Dates given                   Value

       9.5.    City of Jacksonville -National                    Food
               Night Out
               Attn: Officer/Manager
               200 Marine Blvd.
               Jacksonville, NC 28541                                                                                    5/8/2019                $1,000.00

               Recipients relationship to debtor



       9.6.    East Coast Invitational Team                      Food (High School Basketball)
               Camp
               Attn: Officer/Manager
               521 New Bridge St.
               Jacksonville, NC 28540                                                                                    6/28/2019               $5,000.00

               Recipients relationship to debtor



       9.7.    Citizens for a Working                            Food
               America
               Attn: Officer/Manager
               521 New Bridge St.
               Jacksonville, NC 28540                                                                                    7/31/2019               $5,000.00

               Recipients relationship to debtor



       9.8.    Angus Barn                                        Food
               Attn: Officer/Manager
               9401 Glenwood Ave.
               Raleigh, NC 27617                                                                                         12/4/2019               $4,000.00

               Recipients relationship to debtor



       9.9.    Pirate Club                                       Monetary
               Ward Sports Medicine
               Attn: Officer/Manager
               #304
               Greenville, NC 27858                                                                                      4/22/2020               $3,500.00

               Recipients relationship to debtor



       9.10 Sturgeon City                                        Monetary
       .    Attn: Officer/Manager
               50 Court St.
               Jacksonville, NC 28540                                                                                    7/15/2020               $1,450.00

               Recipients relationship to debtor




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               Recipient's name and address                      Description of the gifts or contributions                  Dates given                     Value

       9.11 Onslow Women's Center                                Food for Dancing with the Stars
       .    Attn: Officer/Manager
               226 New Bridge St.
               Jacksonville, NC 28540                                                                                       10/26/2020                $1,000.00

               Recipients relationship to debtor



       9.12 Marine Association Golf Cater                        Food
       .    Attn: Officer/Manager
               148 Brynn Marr Rd
               Jacksonville, NC 28546                                                                                       10/30/2020                $2,321.00

               Recipients relationship to debtor



       9.13 Phil Sheppard                                        Food
       .    521 New Bridge St.
               Jacksonville, NC 28540                                                                                       7/31/2020                 $1,601.75

               Recipients relationship to debtor



       9.14 Swansboro Chamber of                                 Food
       .    Commerce
               Attn: Officer/Manager
               714 W Corbett Ave.
               Swansboro, NC 28584                                                                                          2/21/2020                 $1,102.75

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address




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                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Smith Anderson
                 Attn: Officer/Managing Agent
                 P.O. Box 2611                                                                                                 9/28/20-4/8/
                 Raleigh, NC 27602                                                                                             2021                   $171,262.70

                 Email or website address
                 www.smithlaw.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers              Total amount or
                                                                                                                      were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer             Total amount or
                Address                                          payments received or debts paid in exchange             was made                           value
       13.1 Confirm
       .                                                                                                                                                       $0.00

                Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                 the debtor provides                                                      and housing, number of
                                                                                                                                          patients in debtor’s care
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 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Platinum Corral, LLC Employee Benefit Plan                                                 EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was            Last balance
               Address                                           account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     First National Bank of                          XXXX-2750                   Checking                 4/8/2021                          $131.51
                 Pennsylvania                                                                Savings
                 2445 Onslow Dr.
                                                                                             Money Market
                 Jacksonville, NC 28540
                                                                                             Brokerage
                                                                                             Other

       18.2.     Union Bank (fka Little Bank)                    XXXX-0800                   Checking                 4/8/2021                              $0.00
                 Attn: Officer/Manager                                                       Savings
                 118 Estern Blvd
                                                                                             Money Market
                 Jacksonville, NC 28546
                                                                                             Brokerage
                                                                                             Other

       18.3.     BB&T                                            XXXX-0289                   Checking                 4/8/2021                              $0.00
                 Attn: Officer/Manager                                                       Savings
                 2675 Western Blvd
                                                                                             Money Market
                 Jacksonville, NC 28546
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Building                                                      Louis William Sewell, III            Restaurant Equipment                    No
       618 New Bridge St                                                                                  storage                                 Yes
       Jacksonville, NC 28540

       PODS (2)                                                      Louis William Sewell, III            Restaurant Equipment                    No
       521 New Bridge St.                                                                                 storage                                 Yes
       Jacksonville, NC 28540



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?
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            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Platinum Corral Management,                      Management holding company for                   EIN:         XX-XXXXXXX
             L.L.C.                                           benefits
             Attn: Officer/Manager                                                                             From-To      2/10/2003 to current
             521 NEW BRIDGE ST
             Jacksonville, NC 28540

    25.2.    Salem Halifax Capital                            Limited partner in investment fund               EIN:
             Partners LP
             Attn: Officer/Manager                                                                             From-To
             1225 Johnson Ferry Rd
             Regency Park Suite 630-A
             Marietta, GA 30068


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Becky O'Daniell                                                                                                            10/2016-current
                    1838 Kennedy Road
                    Wilmington, NC 28409

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Elliott Davis                                                                                                              2017, 2018
                    200 Calhoun St.
                    Suite 300
                    Charleston, SC 29401
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Becky O'Daniell, CPA                                                                                                       10/2016 to current
                    1838 Kennedy Road
                    Wilmington, NC 28409




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       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.3.       Restaurant Performance, Inc.                                                                                        10/2016 to current
                    1838 Kennedy Road
                    Wilmington, NC 28409
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.4.       Scarborough Williams CPA                                                                                            2010 to current
                    824 Gum Branch Rd
                    Suite K
                    Jacksonville, NC 28540

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Elliott Davis                                                                            2017 and 2018
                    100 Calhoun St.
                    Suite 300
                    Charleston, SC 29401
       26c.2.       Williams Scarborough Gray, LLP                                                           Tax return preparation
                    824 Gum Branch Rd.
                    Suite K
                    Jacksonville, NC 28540
       26c.3.       Becky O'Daniell, CPA                                                                     Interim CFO
                    1838 Kennedy Road
                    Wilmington, NC 28409

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Pacific Premier Bank
                    Attn: Officer/Manager
                    P. O. Box 7068
                    Pasadena, CA 91109
       26d.2.       First National Bank of Pennsylvania
                    Attn: Officer/Manager
                    2445 Onslow Dr.
                    Jacksonville, NC 28540
       26d.3.       Coastal Bank & Trust
                    Attn: Officer/Manager
                    2414 N Marine Blvd.
                    Jacksonville, NC 28546
       26d.4.       SVCN 4 LLC c/o The RMR Group LLC
                    Attn: Officer/Manager
                    PO Box 776903
                    Chicago, IL 60677-6903
       26d.5.       Store Capital
                    Attn: Officer/Manager
                    8377 E Hartford Dr., Suite 100
                    Scottsdale, AZ 85255


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       Name and address
       26d.6.       Dogwood State Bank
                    Attn: Officer/Manager
                    5401 Six Forks Rd
                    Suite 100
                    Raleigh, NC 27609
       26d.7.       ARC CAFEUSA001 LLC
                    DEPT. 880044 (ID: 082070)
                    PO BOX 29650 - Attn: Officer/Mgr.
                    Phoenix, AZ 85038
       26d.8.       1053 Lenoir Rhyne Boulevard LLC
                    Mr. and Mrs. Russell Wachtier
                    740 Saint Nicholas Ave. Room 2
                    New York, NY 10031
       26d.9.       The Loan Source
                    Attn: Officer/Manager
                    353 E 83rd St.
                    New York, NY 10028
       26d.10.      Northeast Bank
                    Attn: Loan Servicing Department
                    PO Box 171769
                    Boston, MA 02117
       26d.11.      US Small Business Administration
                    Attn: Officer/Manager
                    2 North St, Suite 320
                    Birmingham, AL 35203

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 General Manager of Store 559
       .                                                                                     03/24/2021              42,307.00

                Name and address of the person who has possession of
                inventory records
                Store 559 and Home Office
                521 New Bridge St.
                Jacksonville, NC 28540


       27.2 General Manager of Store 576
       .                                                                                     03/24/2021              33,309.00

                Name and address of the person who has possession of
                inventory records
                Store 576 and Home Office
                521 New Bridge St.
                Jacksonville, NC 28540




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               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.3 General Manager of Store 586
       .                                                                                     03/24/2021              33,229.00

               Name and address of the person who has possession of
               inventory records
               Store 586 and Home Office
               521 New Bridge St.
               Jacksonville, NC 28540


       27.4 General Manager of Store 589
       .                                                                                     03/24/2021              32,448.00

               Name and address of the person who has possession of
               inventory records
               Store 589 and Home Office
               521 New Bridge St.
               Jacksonville, NC 28540


       27.5 General Manager of Store 749
       .                                                                                     03/24/2021              35,292.00

               Name and address of the person who has possession of
               inventory records
               Store 749 and Home Office
               521 New Bridge St.
               Jacksonville, NC 28540


       27.6 General Manager of Store 764
       .                                                                                     03/24/2021              41,441.00

               Name and address of the person who has possession of
               inventory records
               Store 764 and Home Office
               521 New Bridge St.
               Jacksonville, NC 28540


       27.7 General Manager of Store 774
       .                                                                                     03/24/2021              33,850.00

               Name and address of the person who has possession of
               inventory records
               Store 774 and Home Office
               521 New Bridge St.
               Jacksonville, NC 28540


       27.8 General Manager of Store 849
       .                                                                                     03/24/2021              27,477.00

               Name and address of the person who has possession of
               inventory records
               Store 849 and Home Office
               521 New Bridge St.
               Jacksonville, NC 28540




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 13
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                                                                        119                                                                              4/09/21 4:58PM

 Debtor      Platinum Corral, L.L.C.                                                                    Case number (if known)



               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.9 General Manager of Store 2454
       .                                                                                     03/24/2021              42,099.00

               Name and address of the person who has possession of
               inventory records
               Store 2454 and Home Office
               521 New Bridge St.
               Jacksonville, NC 28540


       27.1 General Manager of Store 2607
       0.                                                                                    03/24/2021              27,876.00

               Name and address of the person who has possession of
               inventory records
               Store 2607 and Home Office
               521 New Bridge St.
               Jacksonville, NC 28540


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Louis William Sewell, III                      521 New Bridge St                                   CEO                                   87.5%
                                                      Jacksonville, NC 28540

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John Pierce                                    409 Johnson Blvd.                                                                         12.5%
                                                      Jacksonville, NC 28540



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 LWS III LLC
       .    521 New Bridge Street                                                                                        7/9/2020-3/4/2
               Jacksonville, NC 28540                            59,500.00                                               021                Rent

               Relationship to debtor
               Percentage ownership by
               Louis William Sewell, III -
               100%



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 14
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                                                                        119                                                                            4/09/21 4:58PM

 Debtor      Platinum Corral, L.L.C.                                                                    Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2 Louis William Sewell, III
       .    521 New Bridge Street
               Jacksonville, NC 28540                            245,425.25                                              3/2020-3/2021     Payroll

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    Platinum Corral, LLC Employee Benefit Plan                                                                 EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 9, 2021

 /s/ Louis William Sewell, III                                          Louis William Sewell, III
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President and Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 15
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                                                                  EXHIBIT 1
VENDORS PD > $6425 IN THE LAST 90 DAYS                                                                                        4/8/2021
Vendor IDVendor Name                                Amount Paid YTD   Address 1                   City            State   Zip Code
315912    1053 Lenoir Rhyne Boulevard, LLC          $       16,000.00 740 Saint Nicholas Avenue   New York        NY      10031
315163    A2Z SERVICE GROUP, LLC                    $        8,411.02 21430 Timberlake Rd         Lynchburg       VA      24502
316230    ACS BENEFIT SERVICES (INSURANCE)          $       50,116.54 PO BOX 2000                 WINSTON-SALEM NC        27102
201472    ALAMANCE COUNTY TAX-PROP TAX              $       17,169.43 124 W. ELM STREET           GRAHAM          NC      27253-2802
315441    ALL BRITE LIGHTING LLC/TREMAINE JONES     $       14,753.01 PO BOX 352                  EAGLE SPRINGS   NC      27242
305954    BB&T VISA                                 $      103,309.44 PO Box 580340               Charlotte       NC      28258-0340
315584    BECKY P. O'DANIELL - 1099 MISC            $       28,000.00 1838 KENNEDY ROAD           WILMINGTON      NC      28409
315626    CABARRUS COUNTY TAX-PROP TAX              $       39,237.41 PO BOX 580347               CHARLOTTE       NC      28258-0347
314914    CAPITAL INSIGHT LLC                       $       70,000.00 109 N ACACIA AVE            SOLANA BEACH    CA      92075
167021    CATAWBA COUNTY TAX-PROP TAX               $       27,525.31 PO BOX 580071               CHARLOTTE       NC      28258-0071
305918    CHARLES W BURROWS                         $       17,000.00 854 EAST DIXIE DR           ASHEBORO        NC      27203
315216    CHUBB INSURANCE                           $       12,400.00 PO BOX 382001               PITTSBURGH      PA      15250-8001
311574    CITY OF BURLINGTON-PROP TAX/FALSE ALARM   $       15,310.86 PO BOX 1358                 BURLINGTON      NC      27216-1358
314104    CITY OF COLONIAL HEIGHTS, VA-MEAL TAXES   $       46,979.00 PO BOX 3401                 COLONIAL HEIGHTSVA      23834
314927    CITY OF COLONIAL HEIGHTS-PROP TAX         $       30,955.31 PO BOX 3401                 COLONIAL HEIGHTSVA      23834-9001
314107    CITY OF LYNCHBURG - REVENUE MEALS TAXES   $       24,038.43 PO BOX 858                  LYNCHBURG       VA      24505
314244    CITY OF LYNCHBURG,VA-PROP TAX             $       38,748.80 BILLINGS & COLLECTIONS      LYNCHBURG       VA      24505-9000
315192    CITY OF ROANOKE - PROPERTY TAX            $       12,736.63 PO BOX 1451                 ROANOKE         VA      24007
314105    CITY OF ROANOKE TREASURER-MEAL TAXES      $       49,450.97 PO BOX 1451                 ROANOKE         VA      24007-1451
313511    COASTAL BANK & TRUST                      $        8,100.00 2414 NORTH MARINE BLVD.     JACKSONVILLE    NC      28546
53587     COASTAL EQUIPMENT CO.                     $        9,194.97 130 COASTAL LANE            JACKSONVILLE    NC      28546
306631    CORRAL GROUP OF ASHEBORO                  $       21,000.00 P.O. BOX 1685               JACKSONVILLE    NC      28541
315132    COUNTY OF HENRICO, VA-MEAL TAX            $       19,816.00 PO BOX 76470                BALTIMORE       MD      21275-6470
314354    COUNTY OF HENRICO-PROP TAX                $       13,288.22 PO BOX 105155               ATLANTA         GA      30348-5155
315624    CROOK BROTHERS INC                        $       99,584.42 250 GREY FLATS ROAD         BECKLEY         WV      25801
300101    DAUGHTRY WOODARD LAWRENCE                 $       12,000.00 405 E. MARKET STREET        SMITHFIELD      NC      27577
1516      ECOLAB PEST                               $       10,960.64 26252 NETWORK PLACE         CHICAG0         IL      60673-1262
316333    ENC HOODS                                 $        7,500.00 1601 GREENE HAYNES RD       KINSTON         NC      28504
316326    ENCOVA INSURANCE (WORKERS COMP)           $       60,290.00 PO BOX 11285                CHARLESTON      WV      25339
314930    ENGIE Insight Services Inc.(Ecova)        $      351,641.75 1313 N ATLANTIC ST          SPOKANE         WA      99201-2330
311662    EXPRESS PRINTING                          $        6,902.57 117 N MARINE BLVD           JACKSONVILLE    NC      28540
314560    FAIRFIELD COUNTY TREASURER                $       19,427.74 210 E. MAIN ST. ROOM 206    LANCASTER       OH      43130
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315819   FESS FIRE PROTECTION/INSPECTION              $        7,288.16 PO BOX 1307                       MORRISVILLE    NC   27560
311810   GOLDEN CORRAL CORP-POS/HELP DESK             $        8,667.52 ATTN: CINDY KLEVEN                RALEIGH        NC   27612
316164   Granite Telecommunications                   $       14,435.52 Client ID #311                    Boston         MA   02298-3119
316212   HARDIN COUNTY SHERIFF-PROP TAX               $       16,078.64 150 N. PROVIDENT WAY, SUITE 101   ELIZABETHTOWN KY    42701
184502   HOBART OHIO CORP OFFICE - Carol Stream, IL   $       11,906.08 P.O. BOX 2517                     CAROL STREAM   IL   60132-2517
316314   IHEARTMEDIA                                  $       56,000.00 P.O. BOX 406372                   ATLANTA        GA   30384-6372
301917   INTELLIGENT TECHNOLOGIES INC                 $       12,907.40 20 OAK BRANCH DRIVE, SUITE D      GREENSBORO     NC   27407
314760   IRWIN CONSTRUCTION/TERRY RICHARD IRWIN       $       17,740.85 207 E. 10TH ST                    KANNAPOLIS     NC   28083
322      J H HONEYCUTT & SONS INC                     $       30,528.00 P O BOX 391                       CHADBOURN      NC   28431
314220   KENTUCKY STATE TREASURER-TAXES               $        6,440.00 KENTUCKY DEPARTMENT OF REVENUE    FRANKFORT      KY   40620-0021
86817    M & R CARPET CLEANING INC                    $       61,000.00 500 SINCLAIR LAKE ROAD            NEWTON GROVE NC     28366
30       MEADOWBROOK MEAT CO (MCLANE)                 $     2,146,191.48 P O BOX 800                      ROCKY MOUNT    NC   27802
314037   MECKLENBURG COUNTY TAX-PROP TAX              $       31,320.63 PO BOX 71063                      CHARLOTTE      NC   28272-1063
313415   MERCHANTS FOODSERVICE Cust ID 1721741        $       15,625.04 PO BOX 1351                       HATTIESBURG    MS   39403-1351
315223   NEW MARKET WASTE SOLUTIONS, LLC              $       31,688.08 PO Box 603843                     Charlotte      NC   28260-3843
316051   Oliver Packaging & Equipment Co/2454         $       12,082.27 PO Box 8506                       Carol Stream   IL   60197-8506
311664   ONSLOW COUNTY TAX-PROP TAX                   $       39,847.37 234 NW CORRIDOR BLVD              JACKSONVILLE   NC   28540-5309
315477   PARTS TOWN LLC                               $        9,178.18 27787 NETWORK PLACE               CHICAGO        IL   60673-1277
314031   PRODUCE SOURCE PARTNERS, INC                 $      121,692.37 13167 TELCOURT ROAD               ASHLAND        VA   23005
312134   RANDOLPH COUNTY TAX-PROP TAX                 $       33,072.04 725 MCDOWELL ROAD                 ASHEBORO       NC   27205-7370
314064   RESTAURANT TECHNOLOGIES, INC                 $       37,025.47 12962 COLLECTIONS CENTER DRIVE    CHICAGO        IL   60693
316335   RICHMOND STRIPING LLC                        $       11,333.34 11918 GORDON SCHOOL RD            RICHMOND       VA   23236
315449   SBBH Golden Corral, LLC                      $       60,000.00 101 S Kings Dr                    Charlotte      NC   28204
316159   SERVICE PROPERTIES TRUST                     $      114,014.46 c/o The RMR Group LLC             Chicago        IL   60677-6903
192432   SHULER MEATS                                 $      245,441.91 124 SHULER ROAD                   THOMASVILLE    NC   27360
316327   SMITH ANDERSON                               $       71,662.50 WELLS FARGO CAPITOL CENTER        RALEIGH        NC   27601
315400   STANDEN APPLIANCE REPAIR                     $        8,814.55 1811 JOHN DRIVE                   DANVILLE       VA   24540
316143   State Auto Insurance Companies               $       70,478.73 PO Box 776721                     Chicago        IL   60677-6721
314356   TEXAS LAWN CARE / GONZALEZ LANDSCAPING       $        7,750.00 8500 GLAZEBROOK AVE D             RICHMOND       VA   23228
313990   THE CORRAL GROUP OF JACKSONVILLE, LLC        $       76,500.00 P.O. BOX 1685                     JACKSONVILLE   NC   28541
313997   TREASURER CHESTERFIELD CO-PROP TAX           $       12,380.14 PO BOX 70                         CHESTERFIELD   VA   23832-0906
314325   ULINE/BOXES                                  $       10,160.59 PO BOX 88741                      CHICAGO        IL   60680-1741
180562   US FOODS INC/PO BOX 602211                   $       43,605.03 PO BOX 602211                     CHARLOTTE      NC   28260-2211
316348   US FOODS INC/PO BOX 602215                   $       67,127.83 PO BOX 602215                     CHARLOTTE      NC   28260-2215
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307912   US FOODS INC/PO BOX 602292            $      141,803.95 PO BOX 602292                CHARLOTTE   NC   28260-2292
316349   VALASSIS DIRECT MAIL, INC             $        7,087.63 90469 COLLECTION CENTER DR   CHICAGO     IL   60693
                                               $    4,930,724.23
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re       Platinum Corral, L.L.C.                                                                            Case No.
                                                                                    Debtor(s)                   Chapter     11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                     0.00
             Prior to the filing of this statement I have received                                          $                     0.00
             Balance Due                                                                                    $                     0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 For legal services, I have agreed to accept $50,000 retainer, and fees going forward as approved by the Court.
                 Payments received:
                 9/28/2020 - $25,000.00
                 12/31/2020 - $15,130.20
                 1/25/2021 - $16,245.00
                 2/2/2021 - $15,993.50
                 3/9/2021 - $39,424.00
                 4/8/2021 - $59,470.00

                  Total paid: $171,262.70

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 9, 2021                                                                  /s/ Gerald A. Jeutter, Jr.
     Date                                                                           Gerald A. Jeutter, Jr. 17724
                                                                                    Signature of Attorney
                                                                                    Smith Anderson
                                                                                    150 Fayetteville Street, Ste. 2300
                                                                                    P.O. Box 2611
                                                                                    Raleigh, NC 27602-2611
                                                                                    919-821-1220 Fax: 919-821-6800
                                                                                    jjeutter@smithlaw.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Platinum Corral, L.L.C.                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                               Security Class Number of Securities                       Kind of Interest
 business of holder
 John Pierce                                                                                                                     12.5% ownership interest
 521 New Bridge St.
 Jacksonville, NC 28540

 Louis William Sewell, III                                                                                                       87.5% ownership interest
 521 New Bridge St.
 Jacksonville, NC 28540


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President and Chief Executive Officer of the corporation named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



 Date April 9, 2021                                                            Signature /s/ Louis William Sewell, III
                                                                                            Louis William Sewell, III

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Platinum Corral, L.L.C.                                                                            Case No.
                                                                                     Debtor(s)                 Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President and Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




 Date:       April 9, 2021                                                /s/ Louis William Sewell, III
                                                                          Louis William Sewell, III/President and Chief Executive Officer
                                                                          Signer/Title




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1053 Lenoir Rhyne Boulevard LLC           Allied Security of Jacksonville     AT&T
Mr. and Mrs. Russell Wachtier             Attn: Officer/Manager               Attn: Officer/Manager
740 Saint Nicholas Ave., Room 2           PO BOX 754                          PO BOX 105251
New York, NY 10031                        JACKSONVILLE, NC 28541              Atlanta, GA 30348



A & S Fire Protection Services            Ally Financial                      Atkinson Milling Co Inc.
Attn: Officer/Manager                     Payment Processing Center           Attn: Officer/Manager
1216 Wheeler St                           P. O. Box 9001948                   95 Atkinson Mill Rd
FLATWOODS, KY 41139                       Louisville, KY 40290                Selma, NC 27576



A & W Total Landscaping, LLC              American Electric Power/24002       Atlantic Consolidated Service Inc.
ATTN: OFFICER/MANAGER                     Attn: Officer/Manager               Attn: Officer/Manager
4601 HINSHAW TOWN RD                      PO BOX 371496                       PO BOX 4777
RAMSEUR, NC 27316                         Pittsburgh, PA 15250-7496           GREENSBORO, NC 27404



ACS Benefit Services, LLC                 American Express                    BB&T
Attn: Officer/Manager                     Attn: Officer/Manager               Attn: Officer/Manager
5660 University Parkway, 5th Floor        PO Box 1270                         PO Box 580340
Winston Salem, NC 27105                   Newark, NJ 07101                    Charlotte, NC 28258



ADT Commercial LLC                        APPALACHIAN POWER                   BEDFORD WINDOW CLEANING
Attn: Officer/Manager                     PO BOX 371496                       Attn: Officer/Manager
PO Box 219044                             Pittsburgh, PA 15250-7496           308 JANE RANDOLPH ST
Kansas City, MO 64121                                                         FOREST, VA 24551



Advanced Office Solutions                 ARC Cafeusa001 LLC Zanesville OH    BENNETT UNIFORM
Attn: Officer/Manager                     DEPT 880044 (ID 082070)             Attn: Officer/Manager
PO BOX 815                                PO Box 29650 - Attn: Officer/Mgr.   4377 FEDERAL DR
Swansboro, NC 28584                       Phoenix, AZ 85038                   GREENSBORO, NC 27410



AEP Energy                                ARC CAFEUSA001, LLC                 Black River Electric Cooperative S
Attn: Officer/Manager                     DEPT. 880044 (ID: 082070)           Attn: Officer/Manager
PO Box 6329                               PO BOX 29650 - Attn: Officer/Mgr.   PO BOX 130
Carol Stream, IL 60197-6329               Phoenix, AZ 85038                   Sumter, SC 29151-0130



Alamance County Tax Collector             ARC3 GASES                          Boon Administrative Services
Attn: Officer/Manager                     ATTN: OFFICER/MANAGER               Attn: Officer/Manager
124 W. Elm Street                         PO BOX 26269                        PO Box 671227
Graham, NC 27253                          RICHMOND, VA 23260                  Dallas, TX 75267



ALL BRITE LIGHTING LLC                    ARTHURS REFRIGERATION               BRIANS LOCK & KEY
ATTN: OFFICER/MANAGER                     ATTN: OFFICER/MANAGER               Attn: Officer/Manager
PO BOX 352                                PO BOX 272                          PO BOX 340 (1803 S MAIN ST)
EAGLE SPRINGS, NC 27242                   IRONTON, OH 45638                   BLACKSBURG, VA 24063
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BRINKS INC.                         Chillicothe Bowling Lanes Inc.    City of Concord Tax Collector
Attn: Officer/Manager               Attn: Officer/Manager             Attn: Officer/Manager
7373 SOLUTIONS CENTER               1680 N Bridge St                  PO BOX 580473
CHICAGO, IL 60677                   Chillicothe, OH 45601             Charlotte, NC 28258



C.H.E.S.S. SECURITY                 Chillicothe Utilities Dept. OH    City of Concord, NC
Attn: Officer/Manager               Attn: Officer/Manager             Attn: Officer/Manager
3617 OLDE FALLS RD                  PO BOX 630                        PO BOX 580469
ZANESVILLE, OH 43701                Sumter, SC 29151-0130             Charlotte, NC 28258-0469



Cabarrus Co. Tax Collector          CHOWLY                            City of Danville, VA
Attn: Officer/Manager               Attn: Officer/Manager             Attn: Officer/Manager
PO BOX 580347                       225 W Wacker Dr., Ste 550         PO BOX 3308
Charlotte, NC 28258                 Chicago, IL 60606                 Danville, VA 24543



Cabell County Tax Collector         Cintas                            City of Hickory, NC
Attn: Officer/Manager               Attn: Officer/Manager             Attn: Officer/Manager
PO Box 2114                         PO BOX 630803                     PO BOX 580069
Huntington, WV 25721                Cincinnati, OH 45263              Charlotte, NC 28258-0069



Capital Insight, LLC                Cintas Corp #143                  City of Jacksonville, NC
Attn: Officer/Manager               Attn: Officer/Manager             Attn: Officer/Manager
109 N Acacia Ave                    12524 Kingston Ave                PO BOX 128
Solana Beach, CA 92075              Chester, VA 23836                 Jacksonville, NC 28541-0128



Carolina Carbonic                   CITY OF ASHEBORO, NC              City of Lexington, NC
Attn: Officer/Manager               Attn: Officer/Manager             Attn: Officer/Manager
1712 HOLBROOK ST                    PO BOX 2628                       28 WEST CENTER STREET
GREENSBORO, NC 27403                Asheboro, NC 27204-2628           Lexington, NC 27292



Catawba County Tax Collector        City of Burlington                City of Lynchburg Alarm
Attn: Officer/Manager               Attn: Officer/Manager             Attn: Officer/Manager
PO BOX 580071                       PO BOX 1358                       PO Box 603
Charlotte, NC 28258                 Burlington, NC 27216-1358         Lynchburg, VA 24505



Charles Stafford                    City of Charlotte, NC             City of Lynchburg, VA
908 Limberlost Lane                 Attn: Officer/Manager             Attn: Officer/Manager
Lewisville, NC 27023                PO BOX 1316                       PO BOX 9000
                                    Charlotte, NC 28201-1316          Lynchburg, VA 24505



Charles W. Burrows                  City of Colonial Heights, VA      City of Parkersburg
854 East Dixie Dr.                  Attn: Officer/Manager             Attn: Officer/Manager
Asheboro, NC 27203                  PO BOX 3401                       PO Box 1627
                                    Colonial Heights, VA 23834-9001   Parkersburg, WV 26102
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City of Richmond, VA                Colonial Heights Chamber of Commerc   Country Inn & Suites
Attn: Officer/Manager               Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 71210                        201 Temple Ave                        580 Dicken Place
Charlotte, NC 28272-1210            Colonial Heights, VA 23834            Concord, NC 28025



City of Roanoke                     Columbia Gas of Kentucky              County of Henrico
Attn: Officer/Manager               Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 1451                         PO BOX 4660                           PO BOX 3369
Roanoke, VA 24007                   Carol Stream, IL 60197-4660           Henrico, VA 23228



City of Russell KY                  Columbia Gas of Kentucky              County of Henrico, VA
Attn: Officer/Manager               Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 394                          PO BOX 4629                           PO BOX 90799
Russell, KY 41169                   Carol Stream, IL 60197-4629           Henrico, VA 23228-0799



City of Sumter, SC                  Columbia Gas of Virginia              COZZINI BROS
Attn: Officer/Manager               Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 310                          PO BOX 70319                          350 HOWARD AVE
Sumter, SC 29151-0310               Philadelphia, PA 19176-0319           DES PLAINES, IL 60018



City of Winchester                  Comfort Inn - Roanoke                 Crawford Sprinkler Company
Attn: Officer/Manager               Attn: Officer/Manager                 Attn: Officer/Manager
PO Box 4135                         5070 Valley View Blvd North           PO Box 1430
Winchester, KY 40392                Roanoke, VA 24012                     Hickory, NC 28603



Clark County Sheriff's Dept.        Commercial Roofing Systems            CROOK BROTHERS
Attn: Officer/Manager               Attn: Officer/Manager                 Attn: Officer/Manager
17 Cleveland Ave #1                 1050 W Corbett Ave                    250 GREY FLATS RD
Winchester, KY 40391                Swansboro, NC 28584                   BECKLEY, WV 25801



CMH PLUMBING                        Commonwealth of Kentucky              Culligan Water
Attn: Officer/Manager               Department of Revenue                 Attn: Officer/Manager
505 SONOMA RD                       PO Box 181, STA 57                    418 Crossfield Dr.
JACKSONVILLE, NC 28546              Frankfort, KY 40602                   Versailles, KY 40383



Coastal Bank & Trust                Corey Brothers                        Culligan Water Conditioning
Attn: Officer/Manager               Attn: Officer/Manager                 Attn: Officer/Manager
2414 N Marine Blvd.                 PO Box 166                            2703 Airport Road
Jacksonville, NC 28546              Charleston, WV 25321                  Tucson, AZ 85713



Coastal Equipment Co                Corral Group of Asheboro              DADE PAPER & BAG
Attn: Officer/Manager               Attn: Officer/Manager                 Attn: Officer/Manager
130 COASTAL LN                      PO BOX 1616                           440 Interstate West Pkwy, Ste 200
JACKSONVILLE, NC 28546              Morehead City, NC 28557               LITHIA SPRINGS, GA 30122
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Date Label                            Dominion VA/NC Power                  Engie/Ecova
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO Box 684                            PO BOX 26543                          1313 N Atlantic St., Suite 500
Indianapolis, IN 46206                Richmond, VA 23290-0001               Spokane, WA 99201



Daughtry Woodard Lawrence             DOUBLE K LAWN CARE                    ENVIRO-Master Sani Services
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO DRAWER 1960                        122 GEORGE LN                         PO BOX 12350
SMITHFIELD, NC 27577                  JACKSONVILLE, NC 28540                CHARLOTTE, NC 28220



Davidson County Tax Collector         Douglas Ray Higdon                    EXPRESS PRINTING
Attn: Officer/Manager                 391 Foxwood Dr.                       Attn: Officer/Manager
PO BOX 1577                           Richmond, KY 40475                    117 N MARINE BLVD
Lexington, NC 27293                                                         JACKONVILLE, NC 28540



DAVIDSON WATER, INC.                  Duke Energy                           F.S.I. Mid State Division Inc.
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 969                            PO Box 1003                           121 Middle Collison Rd
Welcome, NC 27374-0969                Charlotte, NC 28201                   Mount Lookout, WV 26678



Diane Sears                           East Coast Tees & Promotional Goods   Fairfield County Treasurer
3045 Ordway Dr NW                     Attn: Officer/Manager                 Attn: Officer/Manager
Apt 1                                 614 1ST AVE SOUTH                     210 E. Main St., Room 206
Roanoke, VA 24017                     NITRO, WV 25143                       Lancaster, OH 43130



Dogwood State Bank FKA Sound Bank     ECOLAB Food Safety Specialties        FESS FIRE PROTECTION
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
5401 Six Forks Rd, Suite 100          24198 Network Place                   PO BOX 1307
Raleigh, NC 27609                     Chicago, IL 60673                     MORRISVILLE, NC 27560



Dominion Energy North Carolina        Ecolab Inc.                           FISH WINDOW CLEANING
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 100256                         PO BOX 32027                          PO BOX 71312
Columbia, SC 29202-3256               NEW YORK, NY 10087                    HENRICO, VA 23229



Dominion Energy South Carolina        ECOLAB PEST                           FLOORED
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 100255                         26252 NETWORK PLACE                   385 RADFORD ST
Columbia, SC 29202-3255               CHICAGO, IL 60673                     CHRISTIANSBURG, VA 24073



Dominion Energy West Virginia         Elizabethtown Utilities, KY           Foster's Refrigeration
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 26783                          PO BOX 550                            315 W 22ND ST
Richmond, VA 23261-6783               Elizabethtown, KY 42701               RICHMOND, VA 23225
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FRANKLIN MACHINE PRODUCTS             Golden Corral Corporation             HABITEC SECURITY
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
101 MT HOLLY BYPASS                   P. O. Box 29502                       PO BOX 352497
LUMBERTON, NJ 08048                   Raleigh, NC 27626                     TOLEDO, OH 43635



Frontier Communications               Golden Corral Franchising Systems     Hardin County Sheriff
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 740407                         PO Box 29502                          150 N. Provident Way, Ste 101
Cincinnati, OH 45274                  Raleigh, NC 27626                     Elizabethtown, KY 42701



FSI MECHANICAL INC                    Golden Rule/Kentucky Legionnaire      Hardin County Water District #2
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
5485 RAYNOR RD                        1303 US HWY 127 S, Ste 402-374        PO BOX 645854
GARNER, NC 27529                      FRANKFORT, KY 40601                   Pittsburgh, PA 15264-5256



FTC                                   Granite Telecommunications            Herbert & Debra Zeysing
Attn: Officer/Manager                 Attn: Officer/Manager                 2115 Cynthiana Rd
PO BOX 743076                         PO Box 983119 (Client ID #311)        Georgetown, KY 40324
Atlanta, GA 30374                     Boston, MA 02298



FUSION                                GreasePro/Fleetwash Inc               High 5 Awards
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 51341                          PO BOX 36014                          11272 Stewart Loop
Los Angeles, CA 90051                 NEWARK, NJ 07188                      Oxford, FL 34484



FUZE INC                              Great-West Trust Company, LLC         HM Electronics
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 347284                         8505 E Orchard Rd                     PO Box 208713
Pittsburgh, PA 15251                  Greenwood Village, CO 80111           Dallas, TX 75320



Gallia County Treasurer               Greenup County Sheriff                Hobart
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
18 Locust St., RM. 1291               PO BOX 318                            PO BOX 2517
Gallipolis, OH 45631                  Greenup, KY 41144                     CAROL STREAM, IL 60132



GC Partners Inc                       Greenville Utilities Commission, NC   Hobart
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
3816 Forrestgate Dr.                  PO BOX 1432                           2725 Old Wrightsboro Rd, Ste 2E
Winston Salem, NC 27103               Charlotte, NC 28201-1432              Wilmington, NC 28405



General Heating & Air Conditioning    GTT                                   Hobart Down East Enterprises
Attn: Officer/Manager                 Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 964                            PO BOX 842630                         1311 E New Bern Rd
FLATWOODS, KY 41139                   Dallas, TX 75284                      Kinston, NC 28501
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HP-Wakeforest GC, LLC                     Jackie Miller                      KENTUCKY AIR FILTER
Holly Park Inv.-Attn: Officer/Mgr.        65 Sanders Dr                      Attn: Officer/Manager
PO Box 19669                              Hubert, NC 28539                   PO BOX 1105
Raleigh, NC 27619                                                            STANTON, KY 40380



HP-WAKEFOREST GC, LLC                     Jacksonville Heating Contractors   KENTUCKY POWER COMPANY
Holly Park Inv. c/o Dan Austin            Attn: Officer/Manager              Attn: Officer/Manager
PO BOX 19669                              227 S Marine Blvd                  PO BOX 371496
Raleigh, NC 27619                         Jacksonville, NC 28540             Pittsburgh, PA 15250-7496



IGS ENERGY                                JCI/ADT/Tyco                       KeyBank Real Estate Capital
Attn: Officer/Manager                     Attn: Officer/Manager              Attn: Officer/Manager
PO BOX 936626                             PO BOX 371967                      11501 Outlook Street, Suite 300
Atlanta, GA 31193-6626                    Pittsburgh, PA 15250               Overland Park, KS 66211



Integrated Cash Logistics Inc.            Johnson Security                   KU-Kentucky Utilities Company
Attn: Officer/Manager                     Attn: Officer/Manager              Attn: Officer/Manager
PO Box 9560                               PO Box 371967                      PO BOX 9001954
Wilmington, DE 19809                      Pittsburgh, PA 15250               Louisville, KY 40290-1954



Integrated Cash Logistics, Inc.           JONATHON M MONSALVO                KULLS PLUMBING & SOFTENER
Attn: Officer/Manager                     Attn: Officer/Manager              Attn: Officer/Manager
P. O. Box 9560                            136 PEACE HAVEN DR                 8193 CARROLL NORTHERN RD
Wilmington, DE 19809-0560                 LEXINGTON, NC 27292                CARROLL, OH 43112



Intelligent tech                          Kanawha Co. Sheriff's Tax Office   Kutak Rock LLP (STORE Capital)
Attn: Officer/Manager                     Attn: Officer/Manager              Attn: Nathan P. Humphrey, Esq.
20 Oak Branch Dr, Suite D                 409 E Virginia St. Room 120        1601 California Street, Suite 3100
Greensboro, NC 27407                      Charleston, WV 25301               Denver, CO 80202



Internal Revenue Service                  KAPPUS CO                          LAMAR COMPANIES
Attn: Officer/Manager                     Attn: Officer/Manager              Attn: Officer/Manager
P. O. Box 7346                            4755 W 150TH ST                    PO BOX 96030
Philadelphia, PA 19101                    CLEVELAND, OH 44135                BATON ROUGE, LA 70896



IRWIN CONSTRUCTION                        Keevers Key & Repair SVC           Lancaster Utilities Collection-Offi
Attn: Officer/Manager                     Attn: Officer/Manager              Attn: Officer/Manager
207 E 10TH ST                             PO BOX 662                         PO BOX 1099
KANNAPOLIS, NC 28083                      Hickory, NC 28603                  Lancaster, OH 43130-0819



J H HONEYCUTT & SONS                      Kennedy Office Supply Co           LBC2 Trust
Attn: Officer/Manager                     Attn: Officer/Manager              Attn: Officer/Manager
PO BOX 391                                PO Box 40847                       PO Box 860713
CHADBOURN, NC 28431                       Raleigh, NC 27629                  Minneapolis, MN 55486-0713
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LBC2 Trust c/o Willow River LLC        McLane FoodService Distribution Inc   MOUNTAINEER GAS
Attn: Officer/Manager                  Attn: Officer/Manager                 Attn: Officer/Manager
PO Box 2301                            2641 Meadowbrook Road                 PO BOX 580211
Stillwater, MN 55082                   ROCKY MOUNT, NC 27802                 Charlotte, NC 28258-0211



Leaf                                   Meals on Wheels                       MTI DIGITAL INC
Attn: Officer/Manager                  Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 5066                            104 E Center St                       407 Lincoln Rd, Suite PHE
Hartford, CT 06102                     Lexington, NC 27292                   MIAMI BEACH, FL 33139



LIBERTY SERVICES INC                   Mecklenburg County Tax                Muskingum County Treasurer
Attn: Officer/Manager                  Attn: Officer/Manager                 Attn: Officer/Manager
1005 S MAIN ST                         PO BOX 71063                          401 Main Street
WEST MILTON, OH 45383                  Charlotte, NC 28272                   Zanesville, OH 43701



Louis William Sewell, III              Merchants Food Service                Muskingum County Utilities
521 New Bridge Street                  Attn: Officer/Manager                 Attn: Officer/Manager
Jacksonville, NC 28540                 PO Box 1351                           375 RICHARD AVE
                                       Hattiesburg, MS 39403                 Zanesville, OH 43701-6605



LWS III LLC                            MICROSPACE                            National Restaurant Designers
Attn: Officer/Manager                  Attn: Officer/Manager                 Attn: Officer/Manager
521 NEW BRIDGE STREET                  PO BOX 60971                          3005 Carrington Mill Blvd., Ste 150
Jacksonville, NC 28540                 Charlotte, NC 28260                   MORRISVILLE, NC 27560



M & R CARPET CLEANING                  MODERN EXTERMINATING                  New Market Waste
Attn: Officer/Manager                  Attn: Officer/Manager                 Attn: Officer/Manager
500 SINCLAIR LAKE RD                   627 COLLEGE ST                        PO BOX 603843
NEWTON GROVE, NC 28366                 JACKSONVILLE, NC 28540                Charlotte, NC 28260-3843



Marilu Mancha                          Monongahela Power                     New Market Waste Solutions
1270 Wintergreen Rd                    PO BOX 3615                           Attn: Officer/Manager
Cove City, NC 28523                    443093615                             PO BOX 603843
                                       Akron, OH 44309-3615                  Charlotte, NC 28260-3843



Marlin                                 Montgomery Co. Treasurer's Office     Noble Properties Inc.
Attn: Officer/Manager                  Attn: Officer/Manager                 Attn: Officer/Manager
PO BOX 13604                           755 Roanoke St., Suite 1B             4280 Professional Center Dr Ste 10
Philadelphia, PA 19101                 Christiansburg, VA 24073              Palm Beach Gardens, FL 33410



MARLIN BUSINESS BANK                   MOOD MEDIA/MUSAK LLC                  North Carolina Dept. of Commerce
Attn: Officer/Manager                  Attn: Officer/Manager                 Division of Employment Security
PO BOX 13604                           PO Box 71070                          P. O. Box 26504
PHILADELPHIA, PA 19101                 Charlotte, NC 28272                   Raleigh, NC 27611-6504
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North Carolina Dept. of Revenue        Pacific Premier Bank              PLUMBING HELPER
Office Services Division               Attn: Officer/Manager             Attn: Officer/Manager
P. O. Box 1168                         PO Box 5085                       PO BOX 6514
Raleigh, NC 27602-1168                 Paso Robles, CA 93447             HUNTINGTON, WV 25772



Northeast Bank                         PARKERSBURG UTILITY BOARD         Postmaster
Attn: Loan Servicing Dept.             Attn: Officer/Manager             Attn: Officer/Manager
PO Box 171769                          PO BOX 1629                       719 New Bridge St
Boston, MA 02117                       Parkersburg, WV 26102-1629        Jacksonville, NC 28540



NUCO2                                  PAVING & RESURFACING INC          PRODUCE SOURCE PARTNERS
Attn: Officer/Manager                  Attn: Officer/Manager             Attn: Officer/Manager
PO BOX 417902                          40 BLACK TOP RD                   13167 TELCOURT RD
BOSTON, MA 02241-7902                  CHARLESTON, WV 25312              ASHLAND, VA 23005



Ohio Department of Taxation            PIEDMONT NATURAL GAS              PROFESSIONAL WINDOW CLEAN
PO Box 2678                            Attn: Officer/Manager             Attn: Officer/Manager
Columbus, OH 43216                     PO BOX 1246                       PO BOX 562
                                       Charlotte, NC 28201-1246          INEZ, KY 41224



OLO INC                                Piney Green Electric Co., Inc.    PURCHASE POWER
Attn: Officer/Manager                  Attn: Officer/Manager             Attn: Officer/Manager
285 FULTON ST, FL 82                   3954 New Bern Highway, 17 North   PO BOX 371874
NEW YORK, NY 10007                     Jacksonville, NC 28546            PITTSBURGH, PA 15250



Onsite Storage                         PIP PRINTING                      Randolph County Tax Collector
Attn: Officer/Manager                  Attn: Officer/Manager             Attn: Officer/Manager
PO BOX 1051                            329 RIVERVIEW DR                  725 McDowell Road
Wildomar, CA 92595                     DANVILLE, NC 24541                Asheboro, NC 27205



Onslow County Tax Collector            Pitney Bowes                      RANDOLPH EMC
Attn: Officer/Manager                  Attn: Officer/Manager             Attn: Officer/Manager
234 NW Corridor Blvd.                  PO BOX 371887                     PO BOX 880
Jacksonville, NC 28540                 Pittsburgh, PA 15250-7887         Robbins, NC 27325-0880



Onslow Fire Extinguisher               Pitt County Tax Collector         Reidsville Corral Group LLC
Attn: Officer/Manager                  Attn: Officer/Manager             Attn: Officer/Manager
349 Center St, STE D                   PO BOX 875                        PO BOX 1148
Jacksonville, NC 28546                 Greenville, NC 27835              Reidsville, NC 27320



P.M.B SERVICES                         PLUMBING DOCTOR                   RELIABLE HOME SOLUTIONS
Attn: Officer/Manager                  Attn: Officer/Manager             Attn: Officer/Manager
6160 PARNELL RD                        411 CENTRAL AVE                   9328 HORIZON RD
WINSTON SALEM, NC 27107                ELIZABETHTOWN, KY 42701           GLEN ALLEN, VA 23060
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RESTAURANT TECHNOLOGIES                Scott & Ross Family Trust            Southern Scripts, LLC
Attn: Officer/Manager                  Attn: Elliott Scott/Managing Agent   Attn: Officer/Manager
12962 COLLECTIONS CENTER DR            5252 Balboa Avenue, Suite 1000       P. O. Box 2482
CHICAGO, IL 60693                      San Diego, CA 92117                  Natchitoches, LA 71457



Richmond Striping LLC                  Security Zone                        SPECTRUM
Attn: Officer/Manager                  Attn: Officer/Manager                Attn: Officer/Manager
11918 Gordon School Rd                 3736 Franklin Rd SW                  PO BOX 223085
Richmond, VA 23236                     Roanoke, VA 24014                    Pittsburgh, PA 15251



RJ Thieneman                           Shell Gas                            SPENCE'S PEST CONTROL
Attn: Officer/Manager                  Attn: Officer/Manager                Attn: Officer/Manager
12488 La Grange Rd                     PO Box 6293                          11600 GROVE PARK COURT
Louisville, KY 40245                   Carol Stream, IL 60197               MIDLOTHIAN, VA 23114



ROANOKE GAS COMPANY                    SHULER MEATS                         SPORTS MEDIA
Attn: Officer/Manager                  Attn: Officer/Manager                Attn: Officer/Manager
PO BOX 70848                           124 SHULER RD                        3315 E Russell Rd, Ste A4, #180
Charlotte, NC 28272-0848               THOMASVILLE, NC 27360                LAS VEGAS, NV 89120



Rockingham County Tax Collector        SIGN PROS                            Standen Appliance Repair
Attn: Officer/Manager                  Attn: Officer/Manager                Attn: Officer/Manager
PO BOX 580368                          7 OAKWOOD CT                         1811 John Drive
Charlotte, NC 28258                    RINEYVILLE, KY 40162                 Danville, VA 24540



RTI                                    Sleep Inn and Suites at Fort Lee     State Auto Insurance Co.
Attn: Officer/Manager                  Attn: Officer/Manager                Attn: Officer/Manager
12962 Collections Center Drive         2200 Waterside Rd                    PO Box 776721
Chicago, IL 60693                      Prince George, VA 23875              Chicago, IL 60677



RUSSELL WATER WORKS                    SMITH AND SONS PLUMBING              Store Capital Corp. - Keybank REC
Attn: Officer/Manager                  Attn: Officer/Manager                Attn: Officer/Manager
PO BOX 394                             1020 LEROY LN                        PO Box145404
Russell, KY 41169                      ASHLAND, KY 41102                    CINCINNATI, OH 45250



SBBH Golden Corral, LLC                South Carolina                       STORE Master Funding III, LLC
Attn: Officer/Manager                  Department of Revenue                Attn: Michael Bennett, Exec. VP
101 S Kings Drive, Suite 200           300A Outlet Pointe Blvd              8501 E. Princess Drive, Suite 190
Charlotte, NC 28204                    Columbia, SC 29210                   Scottsdale, AZ 85255



SBBH Golden Corral, LLC                South Central Power Co               Suddenlink
Attn: Scott Bortz                      Attn: Officer/Manager                Attn: Officer/Manager
101 S. Kings Drive, Suite 200          PO Box 182058                        PO Box 70340
Charlotte, NC 28204                    Columbus, OH 43218                   Philadelphia, PA 19176
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Sumter County Treasurer                 THE ICEE COMPANY                   Town of Wake Forest, NC
Attn: Officer/Manager                   Attn: Officer/Manager              Attn: Officer/Manager
PO BOX 100140                           PO BOX 515723                      301 S BROOKS ST
Columbia, SC 29202                      LOS ANGELES, CA 90051              Wake Forest, NC 27587



SVCN 4 LLC c/o The RMR Group LLC The Lions Cleaning Services               Treasurer, Chesterfield County
Attn: Officer/Manager            Attn: Officer/Manager                     Attn: Officer/Manager
255 Washington St., Suite 300    1327 SCHOLAR ST                           PO BOX 70
Newton, MA 02458                 LOUISVILLE, KY 40213                      Chesterfield, VA 23832



Synergi Partners Inc.                   The Loan Source                    Treasurer, Chesterfield County
Attn: Officer/Manager                   Attn: Officer/Manager              Attn: Officer/Manager
P.O. Box 5599                           353 E 83rd St.                     PO BOX 71143
Florence, SC 29502                      New York, NY 10028                 Charlotte, NC 28272-1143



T&S Mechanical                          Thompson and Son Electric          Unifirst
Attn: Officer/Manager                   Attn: Officer/Manager              Attn: Officer/Manager
4107 Dodds Ridge Dr                     235 LINCOLN AVE                    2900 Blankenbaker Pkwy, Ste 150
Richmond, VA 23236                      ELIZABETHTOWN, KY 42701            Louisville, KY 40299



TAYLOR FREEZER SALES                    Toler Properties, LLC              Unifirst
Attn: Officer/Manager                   Attn: Officer/Manager              Attn: Officer/Manager
PO BOX 5807                             330 Harper Park Dr., Suite G       715 Miles Point Way
CHESAPEAKE, VA 23324                    Beckley, WV 25801                  Lexington, KY 40510



The Corral Group of Jacksonville        Toler Properties, LLC              Unifirst
Attn: Officer/Manager                   Attn: Ray Toler                    Attn: Officer/Manager
PO BOX 1685                             330 Harper Park Dr., Suite G       PO BOX 584
Jacksonville, NC 28541                  Beckley, WV 25801                  Newell, NC 28126



The Corral Group of Lancaster           Tom Marks                          UNIFIRST CORP
The Community Bank-Attn:Officer/Mgr     3601 Calvary Dr                    Attn: Officer/Manager
201 North Columbus Street               Greenville, NC 27834               68 JONSPIN RD
Lancaster, OH 43130                                                        WILMINGTON, MA 01887



THE DAILY NEWS                          TOUCHTONE                          Universal Atlantic Systems
Attn: Officer/Manager                   Attn: Officer/Manager              Attn: Officer/Manager
PO BOX 102475                           PO BOX 780593                      45 W. Industrial Boulevard
ATLANTA, GA 30368                       Philadelphia, PA 19178             Paoli, PA 19301



THE ENERGY COOPERATIVE                  Town of Christiansburg Tax Dept.   UPS
Attn: Officer/Manager                   Attn: Officer/Manager              Attn: Officer/Manager
PO BOX 182137                           100 East Main St                   PO BOX 809488
Columbus, OH 43218-2137                 Christiansburg, VA 24073           Chicago, IL 60680-9488
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US FOODS INC                            VRC Companies LLC - Dept. 5874
Attn: Officer/Manager                   Attn: Officer/Manager
PO BOX 602292                           PO Box 11407
CHARLOTTE, NC 28260                     Birmingham, AL 35246-5874



US Small Business Administration        Wake County Tax Administration
Attn: Officer/Manager                   Attn: Officer/Manager
2 North St, Suite 320                   PO BOX 580084
Birmingham, AL 35203                    Charlotte, NC 28258



USAble Life                             West Virginia American Water Co.
Attn: Officer/Manager                   Attn: Officer/Manager
PO Box 1650                             PO BOX 371880
Little Rock, AR 72203-1650              Pittsburgh, PA 15250-7800



Van Wagner Sports & Entertainment       Western Virginia Water Authority
Attn: Officer/Manager                   Attn: Officer/Manager
800 Third Ave - 28th Floor              PO BOX 17381
New York, NY 10022                      Baltimore, MD 21297-1381



VANTIV, LLC a/d/a IQ                    Winchester Municipal Utilities
Attn: Officer/Manager                   Attn: Officer/Manager
8500 Governors Hill Dr.                 PO BOX 4177
Cincinnati, OH 45249                    Winchester, KY 40392



VCS Fire & Security INC                 WINDSTREAM
Attn: Officer/Manager                   Attn: Officer/Manager
10343-B Kinga Acre Rd                   PO BOX 9001908
Ashland, VA 23005                       Louisville, KY 40290



VERIZON                                 WJCV
PO BOX 660108                           Attn: Officer/Manager
Dallas, TX 75266                        123 A Arnold Rd
                                        Jacksonville, NC 28546



Virginia Tax                            WOOD COUNTY SHERIFF
Attn: Officer/Manager                   ATTN: OFFICER/MANAGER
PO Box 1115                             PO BOX 1985
Richmond, VA 23218                      Parkersburg, WV 26102



Visa                                    WSR Sumter-c/o West Realty Group
Attn: Officer/Manager                   Attn: Officer/Manager
PO Box 580340                           875 Saint Nicholas Ave., Apt. 1
Charlotte, NC 28258                     New York, NY 10032
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Platinum Corral, L.L.C.                                                                           Case No.
                                                                                     Debtor(s)                Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Platinum Corral, L.L.C. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 April 9, 2021                                                          /s/ Gerald A. Jeutter, Jr.
 Date                                                                   Gerald A. Jeutter, Jr. 17724
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for Platinum Corral, L.L.C.
                                                                        Smith Anderson
                                                                        150 Fayetteville Street, Ste. 2300
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